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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF NEBRASKA

                                                                                             )
In re:                                                                                       )   Chapter 11
                                                                                             )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                                               )   Case No. 19-80064 (TLS)
                                                                                             )
                                  Debtors.                                                   )   (Jointly Administered)
                                                                                             )

                             FIRST AMENDED JOINT CHAPTER 11 PLAN OF
                 SPECIALTY RETAIL SHOPS HOLDING CORP. AND ITS DEBTOR AFFILIATES

            NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN OFFER, ACCEPTANCE,
      COMMITMENT, OR LEGALLY BINDING OBLIGATION OF THE DEBTORS OR ANY OTHER PARTY IN
                                        INTEREST.

       YOU SHOULD NOT RELY ON THE INFORMATION CONTAINED IN, OR THE TERMS OF, THIS PLAN
      FOR ANY PURPOSE PRIOR TO THE CONFIRMATION OF THIS PLAN BY THE BANKRUPTCY COURT.

              THIS PLAN IS SUBJECT TO APPROVAL BY THE BANKRUPTCY COURT AND OTHER
         CUSTOMARY CONDITIONS. THIS PLAN IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES.

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Dated: February 12, 2019




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Specialty Retail
       Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida Transportation LLC (4219); Penn-Daniels, LLC (0040);
       Place’s Associates’ Expansion, LLC (7526); Retained R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC
       (2161); Shopko Holding Company, LLC (0171); Shopko Institutional Care Services Co., LLC (7112); Shopko Optical Manufacturing, LLC
       (6346); Shopko Properties, LLC (0865); Shopko Stores Operating Co., LLC (6109); SVS Trucking, LLC (0592). The location of the Debtors’
       service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.




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                                                  INTRODUCTION

         Capitalized terms used in this chapter 11 plan shall have the meanings set forth in Article I.A. The Debtors
propose this Plan for the resolution of outstanding Claims against, and Interests in, the Debtors. Holders of Claims
and Interests may refer to the Disclosure Statement for a discussion of the Debtors’ history, businesses, assets, results
of operations, historical financial information, and projections of future operations, as well as a summary and
description of the Plan. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code, and the Plan constitutes a separate plan for each of the Debtors.

      ALL HOLDERS OF CLAIMS AND INTERESTS, TO THE EXTENT APPLICABLE, ARE
ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE
VOTING TO ACCEPT OR REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms

         As used in this Plan, capitalized terms have the meanings set forth below.

         1.        “Administrative Claim” means a Claim for costs and expenses of administration of the Debtors’
Estates pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual
and necessary costs and expenses incurred after the Petition Date and through the Effective Date of preserving the
Estates and operating the businesses of the Debtors; (b) Allowed Professional Fee Claims; (c) all Allowed requests
for compensation or expense reimbursement for making a substantial contribution in the Chapter 11 Cases pursuant
to sections 503(b)(3), (4), and (5) of the Bankruptcy Code; and (d) all DIP Claims.

          2.       “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, except as otherwise set forth in the Plan or a Final Order, which: (a) with respect to
Administrative Claims other than Professional Fee Claims, shall be 30 days after the Effective Date; and (b) with
respect to Professional Fee Claims, shall be 45 days after the Effective Date; provided that Filing requests for payment
of Administrative Claims is not required, where the Plan, Bankruptcy Code, or a Final Order does not require such
Filing.

         3.       “Affiliate” shall have the meaning set forth in section 101(2) of the Bankruptcy Code.

        4.        “Asset Purchase Agreement” means one or more asset purchase agreements pursuant to which the
Asset Sales are consummated.

        5.      “Asset Sales” means the sale or sales of all or substantially of the Debtors’ assets under this Plan
pursuant to an Asset Purchase Agreement or as otherwise authorized by order of the Bankruptcy Court or the
Bankruptcy Code.

         6.       “Asset Sale Restructuring” means a restructuring under this Plan providing for the Asset Sales.

           7.      “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim that
is evidenced by a Proof of Claim timely Filed by the Bar Date (or for which Claim under the Plan, the Bankruptcy
Code, or a Final Order of the Court a Proof of Claim is not or shall not be required to be Filed); (b) a Claim that is
listed in the Schedules as not contingent, not unliquidated, and not disputed, and for which no Proof of Claim has been
timely filed; or (c) a Claim Allowed pursuant to the Plan, any stipulation approved by the Court, any contract,
instrument, indenture, or other agreement entered into or assumed in connection with the Plan, or a Final Order of the
Court; provided that, with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
Allowed only if and to the extent that with respect to such Claim no objection to the allowance thereof has been
interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
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Court, or if such an objection is so interposed, such Claim shall have been Allowed by a Final Order. Any Claim that
has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed, and for which no Proof of
Claim or Interest is or has been timely Filed, is not considered Allowed and shall be expunged without further action
by the Debtors and without further notice to any party or action, approval, or order of the Court. Notwithstanding
anything to the contrary herein, no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be
deemed Allowed unless and until such Entity pays in full the amount that it owes. A Proof of Claim Filed after the
Bar Date shall not be Allowed for any purposes whatsoever absent entry of a Final Order allowing such late-Filed
Claim. “Allow” and “Allowing” shall have correlative meanings.

         8.       “Allowed Surcharge” means a Permitted Surcharge (as defined in the final DIP and Cash Collateral
Order) in an amount no less than $11 million (a) to be authorized by the Bankruptcy Court or (b) as may be agreed by
the Debtors and the Credit Agreement Primary Agent.

         9.        “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims, actions,
or remedies which any of the Debtors, the debtors in possession, the Estates, or other appropriate parties in interest
have asserted or may assert under sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or
under similar or related state or federal statutes and common law.

        10.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended
from time to time, as applicable to the Chapter 11 Cases.

          11.      “Bankruptcy Court” means the United States Bankruptcy Court for the District of Nebraska having
jurisdiction over the Chapter 11 Cases, and, to the extent of the withdrawal of reference under 28 U.S.C. § 157 and/or
the General Order of the District Court pursuant to section 151 of title 28 of the United States Code, the United States
District Court for the District of Nebraska.

        12.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as applicable to the Chapter
11 Cases, promulgated under section 2075 of the Judicial Code and the general, local, and chambers rules of the
Bankruptcy Court, each as amended from time to time.

         13.      “Bar Date” means the dates established by the Bankruptcy Court by which Proofs of Claim must be
Filed.

        14.      “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

         15.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

         16.      “Cash Consideration” means any proceeds paid or payable in Cash by buyers to the Debtors in
connection with the Asset Sales; provided, however, that Cash Consideration includes any Cash or Cash equivalents
returned (whether before or after the Effective Date) to the Debtors or their Estates, including (a) the return of any
deposits of Cash or Cash equivalents and (b) the release of Cash or Cash equivalents used to collateralize any of the
Debtors’ surety bonds, insurance policies, or utility contracts.

          17.      “Causes of Action” means any claims, damages, remedies, causes of action, demands, rights,
actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, and franchises of any
kind or character whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, in tort, law, equity, or otherwise.
Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and claims on contracts or for
breaches of duties imposed by law; (b) the right to object to or otherwise contest Claims or Interests; (c) claims
pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and (d) such claims and
defenses as fraud, mistake, duress, and usury and any other defenses set forth in section 558 of the Bankruptcy Code.

         18.      “Chapter 11 Cases” means, when used with reference to a particular Debtor, the case pending for
that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court, and when used with reference to all of

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the Debtors, the procedurally consolidated and jointly administered chapter 11 cases pending for the Debtors in the
Bankruptcy Court.

          19.    “Claim” means a claim, as defined in section 101(5) of the Bankruptcy Code, asserted against a
Debtor.

         20.       “Claims Objection Bar Date” means the deadline for objecting to a Claim, which shall be on the
date that is the later of (a) 180 days after the Effective Date and (b) such other period of limitation as may be
specifically fixed by the Debtors or the Reorganized Debtors, as applicable, or by an order of the Bankruptcy Court
for objecting to Claims.

          21.    “Claims Register” means the official register of Claims maintained by the Notice and Claims Agent.

          22.    “Class” means a category of Claims or Interests under section 1122(a) of the Bankruptcy Code.

         23.      “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Cases,
subject to the conditions set forth in the Plan.

       24.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

       25.       “Confirmation Hearing” means the hearing held by the Bankruptcy Court, if any, to consider
Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

         26.      “Confirmation Order” means an order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

          27.    “Consummation” means the occurrence of the Effective Date.

         28.      “Credit Agreement” means that certain Third Amended and Restated Loan and Security Agreement,
dated as of February 7, 2012 (as amended from time to time), by and among Shopko, as borrower, and certain of its
subsidiaries as borrowers or guarantors, certain lenders party thereto, the Credit Agreement Primary Agent, and the
Term Loan B-1 Agent, which governs the Revolving Loan A, Revolving Loan A-1, Term Loan B, and Term Loan B-
1.

        29.     “Credit Agreement Deficiency Claims” means, pursuant to the priority set forth in the Credit
Agreement, the portion of the Term Loan Claims that constitute unsecured Claims under section 506(a) of the
Bankruptcy Code.

         30.      “Credit Agreement Primary Agent” means Wells Fargo Bank, N.A., in its capacity as administrative
agent (other than with respect to the Term Loans B-1) for the Revolving Loan A, Revolving Loan A-1, and Term
Loan B under the Credit Agreement.

        31.      “Creditors’ Committee” means the official committee of unsecured creditors appointed in the
Chapter 11 Cases pursuant to section 1102(a) of the Bankruptcy Code.

         32.    “Cure Claim” means a monetary Claim based upon a Debtor’s defaults under any Executory
Contract or Unexpired Lease at the time such contract or lease is assumed by such Debtor pursuant to section 365 of
the Bankruptcy Code.

        33.      “Cure Notice” means a notice of a proposed amount to be paid on account of a Cure Claim in
connection with an Executory Contract or Unexpired Lease to be assumed under the Plan pursuant to section 365 of
the Bankruptcy Code, which notice shall include: (a) procedures for objecting to proposed assumptions of Executory
Contracts and Unexpired Leases; (b) Cure Claims to be paid in connection therewith; and (c) procedures for resolution
by the Bankruptcy Court of any related disputes.

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        34.        “Cure/Assumption Objection Deadline” means the date that is 14 days after filing of the Schedule
of Assumed Executory Contracts and Unexpired Leases with the Plan Supplement and service of the Cure Notice;
provided that if any Executory Contract or Unexpired Lease is added to the Schedule of Assumed Executory Contracts
and Unexpired Leases after the filing of the initial Schedule of Assumed Executory Contracts and Unexpired Leases,
or an Executory Contract or Unexpired Lease proposed to be assumed by the Debtors or Reorganized Debtors is
proposed to be assigned to a third party after the filing of the initial Schedule of Assumed Executory Contracts and
Unexpired Leases, then the Cure/Assumption Objection Deadline with respect to such Executory Contract or
Unexpired Lease shall be the earlier of (a) 14 days after service of the amended Schedule of Assumed Executory
Contracts and Unexpired Leases with such modification and (b) the date of the scheduled Confirmation Hearing.

         35.     “D&O Liability Insurance Policies” means all insurance policies (including any “tail policy”) of
any of the Debtors for liability of any current or former directors, managers, officers, and members.

          36.     “Debtors” means, collectively, each of the following (the debtors and debtors in possession in the
Chapter 11 Cases): (a) Specialty Retail Shops Holding Corp.; (b) Pamida Stores Operating Co., LLC; (c) Pamida
Transportation LLC; (d) Penn-Daniels, LLC; (e) Place’s Associates’ Expansion, LLC; (f) Retained R/E SPE, LLC;
(g) Shopko Finance, LLC; (h) Shopko Gift Card Co., LLC; (i) Shopko Holding Company, LLC; (j) Shopko
Institutional Care Services Co., LLC; (k) Shopko Optical Manufacturing, LLC; (l) Shopko Properties, LLC;
(m) Shopko Stores Operating Co., LLC; and (n) SVS Trucking, LLC.

        37.      “DIP Agent” means Wells Fargo Bank, N.A., in its capacity as administrative agent and collateral
agent under the DIP Agreement, together with its respective successors and assigns in such capacity.

        38.      “DIP Agreement” means that certain Ratification and Amendment Agreement, dated as of January
16, 2019, by and among the Debtors and the DIP ABL Lenders, as it may be amended, restated, supplemented, or
otherwise modified from time to time.

          39.     “DIP Claim” means any Claim against any of the Debtors arising under the DIP Facility (as such
term is defined in the DIP and Cash Collateral Orders) or the DIP and Cash Collateral Orders, including Claims for
all principal amounts outstanding, interest, fees, expenses, costs, and other charges and obligations.

         40.      “DIP Facility” has the meaning set forth in the DIP and Cash Collateral Orders.

         41.     “DIP ABL Lenders” means, collectively, the revolving, asset-based lenders from time to time party
to the DIP Agreement.

         42.      “DIP Lenders” means, collectively, the lenders from time to time party to the DIP Agreement.

          43.     “DIP and Cash Collateral Orders” means, collectively, the interim and final orders entered by the
Bankruptcy Court authorizing the Debtors to use cash collateral and enter into the DIP Agreement and incur
postpetition obligations thereunder.

         44.      “Disallowed” means, with respect to any Claim, a Claim or any portion thereof that: (a) has been
disallowed by a Final Order; (b) is listed in the Schedules as zero or as contingent, disputed, or unliquidated and as to
which no Proof of Claim or request for payment of an Administrative Claim has been timely Filed or deemed timely
Filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court
or otherwise deemed timely Filed under applicable law or the Plan; (c) is not listed in the Schedules and as to which
no Proof of Claim or request for payment of an Administrative Claim has been timely Filed or deemed timely Filed
with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court or
otherwise deemed timely Filed under applicable law or the Plan; (d) has been withdrawn by agreement of the
applicable Debtor and the Holder thereof; or (e) has been withdrawn by the Holder thereof.

         45.       “Disbursing Agent” means the Debtors, the Reorganized Debtors, or the Plan Administrator, as
applicable, or the Entity or Entities selected by the Debtors, the Reorganized Debtors, or the Plan Administrator to
make or facilitate distributions contemplated under the Plan.

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        46.        “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and
schedules thereto.

         47.      “Disputed” means a Claim that is not yet Allowed.

         48.      “Distribution Proceeds” means all Cash of the Debtors available on the Effective Date after the
funding of the Priority Claims Reserve, the Other Secured Claims Reserve, the Professional Fee Escrow Account, and
the Wind-Down Reserve, available for distribution under Article VIII.G hereof.

         49.       “Distribution Record Date” means the date for determining which Holders of Allowed Claims or
Allowed Interests are eligible to receive distributions hereunder, which shall be (a) the Confirmation Date or (b) such
other date as designated in a Final Order of the Bankruptcy Court.

         50.       “Distribution Reserve Accounts” means the Priority Claims Reserve, the Undeliverable Distribution
Reserve, the Wind-Down Reserve, the Other Secured Claims Reserve, and the GUC Asset Sale Reserve established
pursuant to this Plan.

         51.      “DTC” means the Depository Trust Company.

        52.      “Effective Date” means, with respect to the Plan, the date that is a Business Day selected by the
Debtors on which: (a) no stay of the Confirmation Order is in effect; (b) all conditions precedent specified in Article
XI.A hereof have been satisfied or waived (in accordance with Article XI.B); and (c) the Plan is declared effective.

         53.      “Entity” shall have the meaning set forth in section 101(15) of the Bankruptcy Code.

         54.       “Equitization Restructuring” means the transactions and reorganization contemplated by, and
pursuant to, this Plan under which the New Shopko Interests are distributed, among other things.

         55.       “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

         56.      “Exculpated Parties” means, collectively, and in each case in its capacity as such: the Debtors and
Reorganized Debtors and each Debtor’s and Reorganized Debtor’s respective predecessors, successors and assigns,
and current and former stockholders, members, limited partners, general partners, equity holders, Affiliates and its
and their subsidiaries, principals, partners, parents, equity holders, members, employees, agents, officers, directors,
managers, trustees, professionals, representatives, advisors, attorneys, financial advisors, accountants, investment
bankers, and consultants.

        57.       “Executory Contract” means a contract to which one or more of the Debtors is a party that is subject
to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

         58.      “Exit Facility” means either (a) a replacement credit facility, pursuant to which the Prepetition ABL
Lenders, the DIP ABL Lenders, and the Term Loan B Lenders will convert all of their outstanding Claims and
commitments into commitments under such Exit Facility, and/or (b) a new credit facility in an amount sufficient to
repay in full in Cash on the Effective Date the Claims of the Prepetition ABL Lenders, the DIP ABL Lenders, and
Term Loan B Lenders and to provide incremental liquidity, if any.

         59.      “Exit Facility Credit Agreements” means the credit agreements governing the Exit Facility, if any.

        60.      “Exit Facility Documents” means the Exit Facility Credit Agreements and related documents
governing the Exit Facility.

       61.     “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date,
compounded annually.


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         62.      “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with the Bankruptcy
Court or, with respect to the filing of a Proof of Claim or proof of Interest, the Notice and Claims Agent.

          63.     “Final Order” means: (a) an order or judgment of the Bankruptcy Court, as entered on the docket
in any Chapter 11 Case (or any related adversary proceeding or contested matter) or the docket of any other court of
competent jurisdiction; or (b) an order or judgment of any other court having jurisdiction over any appeal from (or
petition seeking certiorari or other review of) any order or judgment entered by the Bankruptcy Court (or any other
court of competent jurisdiction, including in an appeal taken) in the Chapter 11 Case (or in any related adversary
proceeding or contested matter), in each case that has not been reversed, stayed, modified, or amended, and as to
which the time to appeal, or seek certiorari or move for a new trial, reargument, or rehearing has expired according to
applicable law and no appeal or petition for certiorari or other proceedings for a new trial, reargument, or rehearing
has been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or may
be timely Filed has been withdrawn or resolved by the highest court to which the order or judgment was appealed or
from which certiorari was sought or the new trial, reargument, or rehearing shall have been denied, resulted in no
modification of such order, or has otherwise been dismissed with prejudice; provided that the possibility a motion
under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules or the Local
Bankruptcy Rules of the Bankruptcy Court, may be filed relating to such order shall not prevent such order from being
a Final Order.

         64.      “General Account” means a general account: (a) into which shall be deposited revenues and
proceeds of all assets of the Debtors, including proceeds of the Asset Sales, and Cash of the Debtors in an amount in
excess of the amount required to adequately maintain the Distribution Reserve Accounts as described in Article VIII.H
(provided that the General Account shall not include funds required to be deposited into the Distribution Reserve
Accounts); (b) from which shall be made payments to any Distribution Reserve Account (other than GUC Asset Sale
Reserve) in an amount sufficient to adequately maintain such Distribution Reserve Account as described in Article
VIII.H; and (c) from which payments shall be made according to the priority set forth in Article VIII.G.

        65.     “General Unsecured Claim” means any Claim other than: (a) an Administrative Claim; (b) a
Secured Tax Claim; (c) an Other Secured Claim; (d) a Priority Tax Claim; (e) an Other Priority Claim; (f) a Term
Loan Secured Claim; (g) an Intercompany Claim; (h) a DIP Claim; or (i) a Section 510(b) Claim.

         66.      “Governmental Unit” shall have the meaning set forth in section 101(27) of the Bankruptcy Code.

         67.    “GUC Asset Sale Reserve” means a separate, segregated account to be established and maintained
by the Plan Administrator and funded with the Distribution Proceeds pursuant to Article VIII.F hereof.

         68.       “GUC Equitization Reserve” means, if an Equitization Restructuring occurs, a separate reserve
account for distribution to the Holders of Allowed General Unsecured Claims that will be funded with the lesser of
(a) an amount equal to the total amount of Allowed General Unsecured Claims or (b) any remaining Cash on hand as
of the Effective Date less (x) the Minimum Liquidity Threshold and (y) Cash necessary to make distributions to
Holders of all other Allowed Claims pursuant to Article II and Article III hereof.



         69.      “Holder” means an Entity holding a Claim or Interest, as applicable.

         70.      “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests that
is impaired within the meaning of section 1124 of the Bankruptcy Code.

         71.      “Intercompany Claim” means any Claim held by a Debtor or a Debtor’s Affiliate against a Debtor
or a Debtor’s Affiliate.

        72.      “Intercompany Interest” means, other than an Interest in Shopko, an Interest in one Debtor held by
another Debtor or a Debtor’s Affiliate.


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          73.     “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any
Debtor.

          74.    “Interim Compensation Order” means the order of the Bankruptcy Court establishing procedures
for interim compensation and reimbursement of expenses for professionals.

          75.      “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from
time to time, as applicable to the Chapter 11 Cases.

          76.     “Lien” shall have the meaning set forth in section 101(37) of the Bankruptcy Code.

       77.     “Management Incentive Plan” means, if an Equitization Restructuring occurs, a post-Effective Date
management incentive plan, the material terms of which shall be consistent with Article IV of the Plan.

        78.      “Minimum Liquidity Threshold” means $30 million, or such other amount determined by the
Debtors on or before the Confirmation Hearing.

       79.      “New Boards” means, if an Equitization Restructuring occurs, the initial board of directors,
members, or managers, as applicable, of each Reorganized Debtor.

          80.      “New Organizational Documents” means, if an Equitization Restructuring occurs, the form of the
certificates or articles of incorporation, bylaws, or such other applicable formation documents of each of the
Reorganized Debtors, which forms shall be included in the Plan Supplement.

          81.     “New Shopko Interests” means, if an Equitization Restructuring occurs, interests in Reorganized
Shopko.

        82.      “New Stockholders’ Agreement” means the agreement with respect to the New Shopko Interests, the
form of which shall be included in the Plan Supplement.

          83.     “Notice and Claims Agent” means Prime Clerk LLC.

         84.      “Other Priority Claim” means any Claim entitled to priority in right of payment under section 507(a)
of the Bankruptcy Code, other than: (a) an Administrative Claim; or (b) a Priority Tax Claim, to the extent such Claim
has not already been paid during the Chapter 11 Cases.

       85.        “Other Secured Claim” means any Secured Claim other than Claims arising under the Credit
Agreement.

       86.       “Other Secured Claims Reserve” means the account to be established and maintained by the
Plan Administrator and funded with the Other Secured Claims Reserve Amount pursuant to Article VIII.E.

         87.      “Other Secured Claims Reserve Amount” means Cash in an amount to be determined by the Debtors,
which amount shall be funded by the Debtors and used by the Plan Administrator for the payment of Allowed Other
Secured Claims to the extent that such Other Secured Claims have not been satisfied pursuant to Article III.B.2 on or
before the Effective Date.

          88.     “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy Code.

          89.     “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

          90.     “Plan” means this plan, as it may be amended or supplemented from time to time, including all
exhibits, schedules, supplements, appendices, annexes, and attachments thereto.



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         91.      “Plan Administrator” means the person selected by the Debtors to administer the Plan Administrator
Assets if the Asset Sale Restructuring has occurred. All costs, liabilities, and expenses reasonably incurred by the
Plan Administrator, and any personnel employed by the Plan Administrator in the performance of the Plan
Administrator’s duties, shall be paid from the Plan Administrator Assets.

         92.        “Plan Administrator Assets” means, if the Asset Sale Restructuring has occurred, on the Effective
Date, all assets of the Estates vested in the Reorganized Debtors to be administered by Plan Administrator, and,
thereafter, all assets held from time to time by Reorganized Debtors to be administered by Plan Administrator.

         93.     “Plan Sponsor” means, collectively, one or more sponsors or other financial institutions providing
the Plan Sponsor Investment.

        94.      “Plan Sponsor Agreement” means that certain plan sponsor agreement, by and among each of the
Debtors and the Plan Sponsor.

        95.    “Plan Sponsor Investment” means the investment, if any, by the Plan Sponsor under the Plan
Sponsor Agreement.

          96.       “Plan Supplement” means the compilation of documents and forms of documents, schedules, and
exhibits to the Plan, to be Filed by the Debtors no later than 14 days before the Confirmation Hearing or such later
date as may be approved by the Bankruptcy Court on notice to parties in interest, and additional documents Filed with
the Bankruptcy Court before the Effective Date as amendments to the Plan Supplement. If a Equitization
Restructuring occurs, the Plan Supplement shall include the following: (a) New Organizational Documents; (b) Exit
Facility Credit Agreement; (c) Schedule of Assumed Executory Contracts and Unexpired Leases; (d) Schedule of
Rejected Executory Contracts and Unexpired Leases; (e) a list of retained Causes of Action; (f) New Stockholders’
Agreement, if any; (g) Plan Sponsor Agreement, if any; (h) a document listing the members of the New Boards and
the officers of the Reorganized Debtors, if any; (i) the Management Incentive Plan; and (j) any and all other
documentation necessary to effectuate the Restructuring Transactions or that is contemplated by the Plan. If an Asset
Sale Restructuring occurs, the Plan Supplement shall include the following: (a) New Organizational Documents;
(b) Exit Facility Credit Agreement, if any; (c) Schedule of Assumed Executory Contracts and Unexpired Leases;
(d) a list of retained Causes of Action; (e) Asset Purchase Agreement; (f) the identity of the Plan Administrator and
the compensation of the Plan Administrator, if any; and (g) any and all other documentation necessary to effectuate
the Restructuring Transactions or that is contemplated by the Plan. The Debtors shall have the right to amend the
documents contained in, and exhibits to, the Plan Supplement through the Effective Date in accordance with Article
X of the Plan.

         97.      “Prepetition ABL Lenders” means, collectively, the lenders providing loans and commitments under
the Prepetition ABL Loans.

         98.      “Prepetition ABL Loans” means, collectively, the Revolving Loan A and Revolving Loan A-1.

         99.      “Priority Claims” means, collectively, Priority Tax Claims and Other Priority Claims.

         100.    “Priority Claims Reserve” means the account to be established by the Reorganized Debtors with the
Priority Claims Reserve Amount to fund distributions to Holders of Allowed Administrative Claims (excluding
Professional Fee Claims and DIP Claims) and Allowed Priority Claims.

          101.      “Priority Claims Reserve Amount” means (i) under the Equitization Restructuring, the lesser of (a)
an amount equal to the total amount of Allowed Administrative Claims (excluding Professional Fee Claims and DIP
Claims) and Allowed Priority Claims and (b) any remaining Cash on hand as of the Effective Date less (x) the
Minimum Liquidity Threshold and (y) Cash necessary to make distributions to (i) Holders of all other Allowed Claims
pursuant to Article II hereof and (ii) Holders of Allowed Other Secured Claims and Holders of Allowed Term Loan
Secured Claims (pursuant to the priority set forth in the Credit Agreement, up to the amount of the Allowed Term
Loan B Claims) pursuant to Article III hereof; and (ii) under the Asset Sale Restructuring, the lesser of (a) an amount
equal to the total amount of Allowed Administrative Claims (excluding Professional Fee Claims and DIP Claims) and

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Allowed Priority Claims and (b) the sum of (x) an amount agreed to by the Debtors and the Credit Agreement Primary
Agent, (y) the Allowed Surcharge, and (z) the Distribution Proceeds, to the extent known on the Effective Date, to be
allocated and paid to the Holders of Allowed Administrative Claims (excluding Professional Fee Claims and DIP
Claims) and Allowed Priority Claims according to the priority set forth in Article VIII.G.

         102.      “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

        103.    “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to the aggregate
amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a particular Class bear to the
aggregate amount of Allowed Claims in a particular Class and other Classes entitled to share in the same recovery as
such Allowed Claim under the Plan.

         104.    “Professional” means an Entity employed pursuant to a Bankruptcy Court order in accordance with
sections 327 or 1103 of the Bankruptcy Code and to be compensated for services rendered before or on the
Confirmation Date, pursuant to sections 327, 328, 329, 330, or 331 of the Bankruptcy Code.

         105.     “Professional Fee Claims” means all Administrative Claims for the compensation of Professionals
and the reimbursement of expenses incurred by such Professionals through and including the Confirmation Date to
the extent such fees and expenses have not been previously paid.

          106.     “Professional Fee Escrow Account” means an interest-bearing account in an amount equal to the
total Professional Fee Reserve Amount funded by the Reorganized Debtors on the Effective Date.

         107.     “Professional Fee Reserve Amount” means the aggregate amount of Professional Fee Claims that
the Professionals estimate they have incurred or will incur in rendering services to the Debtors prior to and as of the
Effective Date, which estimates Professionals shall deliver to the Debtors as set forth in Article II.B of this Plan.

         108.      “Proof of Claim” means a proof of Claim Filed in the Chapter 11 Cases.

         109.     “Purchaser” means the purchaser under the Asset Purchase Agreement, together with its successors
and permitted assigns (including any and all of its wholly-owned Affiliates to which it assigns any of its rights or
obligations under the Asset Purchase Agreement).

       110.    “Recharacterized Principal” shall mean the amount of any interests and fees paid to the Holders of
Term Loan Claims as adequate protection under the DIP and Cash Collateral Orders.

          111.      “Reinstated” or “Reinstatement” means, with respect to Claims and Interests, that the Claim or
Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.

         112.      “Released Party” means each of the following in their capacity as such: (a) the Debtors and
Reorganized Debtors; (b) the Debtors’ current and former officers, directors, and managers; and (c) each of the
foregoing Entities’ respective predecessors, successors and assigns, and current and former stockholders, members,
limited partners, general partners, equity holders, Affiliates and its and their subsidiaries, principals, partners, parents,
equity holders, members, employees, agents, officers, directors, managers, trustees, professionals, representatives,
advisors, attorneys, financial advisors, accountants, investment bankers, and consultants, in each case solely in their
capacity as such; provided that any Holder of a Claim or Interest that elects to “opt out” of granting releases by timely
objecting to the Plan’s third-party release provisions shall not be a “Released Party.”

          113.       “Releasing Party” means, collectively, and in each case solely in its capacity as such: (a) the
Debtors and the Reorganized Debtors; (b) the Credit Agreement Primary Agent; (c) the Term Loan B-1 Agent;
(d) each Holder of a Claim or Interest entitled to vote to accept or reject the Plan that (i) votes to accept the Plan or
(ii) votes to reject the Plan or does not vote to accept or reject the Plan but does not affirmatively elect to “opt out” of
being a Releasing Party by timely objecting to the Plan’s third-party release provisions; (e) each Holder of a Claim or
Interest that is Unimpaired and presumed to accept the Plan; (f) each Holder of a Claim or Interest that is deemed to

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reject the Plan that does not affirmatively elect to “opt out” of being a Releasing Party by timely objecting to the Plan’s
third-party release provisions; and (g) with respect each of the foregoing entities described in clauses (a) through (g),
such entities’ current and former affiliates, and such entities’ and such affiliates’ partners, subsidiaries, predecessors,
current and former directors, managers, officers, equity holders (regardless of whether such interests are held directly
or indirectly), members, officers, principals, employees, agents, managed accounts or funds, advisors, attorneys,
accountants, investment bankers, consultants, representatives, management companies, fund advisors, and other
professionals, together with their respective successors and assigns.

        114.      “Reorganized Debtors” means the Debtors, or any successor thereto, by merger, consolidation, or
otherwise, on or after the Effective Date, including Reorganized Shopko.

         115.      “Reorganized Shopko” means either: (a) Shopko, or any successor thereto, as reorganized pursuant
to and under the Plan; or (b) a new corporation or limited liability company designated by the Debtors to, among other
things, directly or indirectly acquire substantially all of the assets and/or stock of the Debtors and issue the New
Shopko Interests to be distributed or sold pursuant to the Plan, or any other successor to the forgoing, including the
Purchaser.

         116.     “Reorganized Shopko Board” means the New Board of Reorganized Shopko on and after the
Effective Date.

         117.     “Restructuring” means the restructuring of the Debtors on the terms of the Plan.

         118.    “Restructuring Documents” means the Plan, the Disclosure Statement, the Plan Supplement, and
the various agreements and other documents formalizing or implementing the Plan and the transactions contemplated
thereunder.

         119.      “Restructuring Transactions” means those mergers, amalgamations, consolidations, arrangements,
continuances, restructurings, transfers, conversions, dispositions, liquidations, dissolutions, or other corporate
transactions that the Debtors reasonably determine to be necessary to implement the Restructuring, as described in
more detail in Article IV.A herein.

         120.     “Retained Causes of Action List” means a list of all retained Claims and Causes of Action of the
Debtors, identified in the Plan Supplement.

         121.     “Revolving Loan A” means the total Revolving Loan A Commitments made pursuant to (and as
defined in) the Credit Agreement, made by or on behalf of certain lenders for the ratable accounts of such lenders,
pursuant to the Credit Agreement.

         122.     “Revolving Loan A Claim” means any Claim arising under or related to the Revolving Loan A.

         123.     “Revolving Loan A-1” means the total Revolving Loan A-1 Commitments made pursuant to (and as
defined in) the Credit Agreement, made by or on behalf of certain lenders for the ratable accounts of such lenders,
pursuant to the Credit Agreement.

         124.     “Revolving Loan A-1 Claim” means any Claim arising under or related to the Revolving Loan A-1.

         125.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means the schedule (including
any amendments or modifications thereto), if any, of the Executory Contracts and Unexpired Leases to be assumed or
assumed and assigned by the Debtors or the Reorganized Debtors, as applicable, pursuant to the Plan, as set forth in
the Plan Supplement, as amended by the Debtors from time to time in accordance with the Plan, which shall be in
form and substance acceptable to the Debtors.

       126.    “Schedule of Rejected Executory Contracts and Unexpired Leases” means the schedule (including
any amendments or modifications thereto), if any, of the Executory Contracts and Unexpired Leases to be rejected by


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the Debtors pursuant to the Plan, as set forth in the Plan Supplement, as amended by the Debtors from time to time in
accordance with the Plan, which shall be in form and substance acceptable to the Debtors.

        127.    “Schedules” means, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases, and statements of financial affairs Filed by the Debtors pursuant to section 521 of
the Bankruptcy Code and in substantial accordance with the Official Bankruptcy Forms, as the same may have been
amended, modified, or supplemented from time to time.

        128.    “Section 510(b) Claim” means any Claim subject to subordination under section 510(b) of the
Bankruptcy Code.

         129.      “Secured” means, when referring to a Claim: (a) secured by a Lien on property in which any of the
Debtors has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of
the value of the applicable Holder’s interest in the applicable Debtor’s interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code; or
(b) Allowed pursuant to the Plan, or separate order of the Bankruptcy Court, as a secured claim.

          130.     “Secured Tax Claim” means any Secured Claim against any of the Debtors that, absent its secured
status, would be entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined
irrespective of time limitations), including any related Secured Claim for penalties.

        131.      “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, together with the rules
and regulations promulgated thereunder, as amended from time to time.

       132.       “Securities Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. §§ 78a–78nn, as
amended.

         133.     “Security” means a security as defined in section 2(a)(1) of the Securities Act.

         134.     “Shopko” means Specialty Retail Shops Holding Corp.

         135.     “Special Committee” means the special committee created by the board of directors of Shopko.

         136.     “Spirit” means Spirit Realty L.P., Shopko Note Holding, LLC, and their affiliates.

        137.      “Store Closing GOB Sales Order” means the order of the Bankruptcy Court approving the Debtors’
going out of business sales in accordance with section 363 of the Bankruptcy Code, entered on February 8, 2019
[Docket No. 364].

         138.     “Term Loans” means, collectively, the Term Loan B and the Term Loan B-1.

         139.    “Term Loan B” means the total Term Loan B Commitments made pursuant to (and as defined in)
the Credit Agreement, made by or on behalf of certain lenders for the ratable accounts of such lenders, pursuant to the
Credit Agreement.

         140.     “Term Loan B Claim” means any Claim derived from or based upon the Term Loan B.

        141.     “Term Loan B Lenders” means, collectively, the lenders providing loans and commitments under
the Term Loan B.

         142.    “Term Loan B-1” means the total Term Loan B-1 Commitments made pursuant to (and as defined
in) the Credit Agreement made by or on behalf of Spirit for the ratable account of Spirit, pursuant to the Credit
Agreement.


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        143.     “Term Loan B-1 Agent” means Spirit, in its capacity as administrative and collateral agent of the
Term Loan B-1, on behalf of itself as a lender pursuant to the terms of the Credit Agreement and any replacement or
successor agent on behalf of Spirit as the Term Loan B-1 lenders.

         144.      “Term Loan Claim” means any Claim derived from or based upon the Term Loans.

        145.      “Term Loan Secured Claim” means any Secured Term Loan Claim, which shall equal no more than
the amount of the Term Loan Claims less the sum of the Allowed Surcharge and the Recharacterized Principal.

        146.      “Undeliverable Distribution Reserve” means a segregated account established by the Plan
Administrator established in accordance with Article VIII.B hereof.

         147.      “U.S. Trustee” means the Office of the United States Trustee for the District of Nebraska.

          148.      “Unexpired Lease” means a lease of nonresidential real property to which one or more of the Debtors
is a party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

          149.    “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that are unimpaired within the meaning of section 1124 of the Bankruptcy Code, including through payment in full in
Cash.

         150.      “Voting Deadline” means March 25, 2019 at 5:00 p.m. (prevailing Central Time).

         151.      “Wind Down” means the wind down and dissolution of the Debtors’ Estates following the Effective
Date as set forth in Article VIII.B hereof.

          152.    “Wind-Down Amount” means Cash in an amount to be determined by the Debtors, which amount
shall be funded by the Debtors and used by the Plan Administrator to fund the Wind Down.

         153.     “Wind-Down Reserve” means a segregated account established by the Plan Administrator
established in accordance with Article VIII.D.

B.       Rules of Interpretation

          For purposes herein: (1) in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit as it
may thereafter be amended, modified, or supplemented; (4) any reference to an Entity as a Holder of a Claim or
Interest includes that Entity’s successors and assigns; (5) unless otherwise specified, all references herein to “Articles”
are references to Articles hereof or hereto; (6) unless otherwise specified, all references herein to exhibits are
references to exhibits in the Plan Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and
“hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan; (8) captions and headings to
Articles are inserted for convenience of reference only and are not intended to be a part of or to affect the interpretation
of the Plan; (9) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy
Code shall apply; (10) any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules, as the case may be; (11) all references to docket numbers of documents Filed in the Chapter 11
Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system; (12) all references to
statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to time, and as applicable
to the Chapter 11 Cases, unless otherwise stated; (13) any immaterial effectuating provisions may be interpreted by
the Debtors, the Reorganized Debtors, or the Plan Administrator in such a manner that is consistent with the overall

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purpose and intent of the Plan, all without further notice to, or action, order, or approval of, the Bankruptcy Court or
any other Entity; and (14) except as otherwise specifically provided in the Plan to the contrary, references in the Plan
to the Debtors or to the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to
the extent the context requires.

C.       Computation of Time

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.

D.       Governing Law

          Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of Delaware, without giving effect to the principles
of conflict of laws, shall govern the rights, obligations, construction, and implementation of the Plan, any agreements,
documents, instruments, or contracts executed or entered into in connection with the Plan (except as otherwise set
forth in those agreements, in which case the governing law of such agreement shall control); provided that corporate
governance matters relating to the Debtors or the Reorganized Debtors, as applicable, shall be governed by the laws
of the state of incorporation or formation of the relevant Debtor or Reorganized Debtor, as applicable.

E.       Reference to Monetary Figures

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Controlling Document

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and any document included in the Plan
Supplement, the terms of the relevant provision in the Plan shall control (unless stated otherwise in such document or
in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.

G.       Nonconsolidated Plan

         Although for purposes of administrative convenience and efficiency the Plan has been filed as a joint plan
for each of the Debtors and presents together Classes of Claims against, and Interests in, the Debtors, the Plan does
not provide for the substantive consolidation of any of the Debtors.

                                            ARTICLE II.
                            ADMINISTRATIVE CLAIMS AND PRIORITY CLAIMS

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority Tax
Claims have not been classified and, thus, are excluded from the Classes of Claims and Interests set forth in Article
III hereof.

A.       Administrative Claims and Priority Tax Claims

         Except as otherwise provided in this Article II.A and except with respect to Administrative Claims that are
Professional Fee Claims, requests for payment of Allowed Administrative Claims must be Filed and served on the
Reorganized Debtors pursuant to the procedures specified in the Confirmation Order and the notice of entry of the
Confirmation Order no later than the Administrative Claims Bar Date. Holders of Administrative Claims that are

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required to, but do not, File and serve a request for payment of such Administrative Claims by such date shall be
forever barred, estopped, and enjoined from asserting such Administrative Claims against the Debtors or their
property, and such Administrative Claims shall be deemed discharged as of the Effective Date. Objections to such
requests, if any, must be Filed and served on the Reorganized Debtors and the requesting party by the Claims Objection
Bar Date.

          Except with respect to Administrative Claims that are Professional Fee Claims or DIP Claims, and except to
the extent that an Administrative Claim or Priority Tax Claim has already been paid during the Chapter 11 Cases or a
Holder of an Allowed Administrative Claim or Priority Tax Claim and the applicable Debtor(s) agree to less favorable
treatment, each Holder of an Allowed Administrative Claim or Priority Tax Claim shall receive, in full and final
satisfaction, compromise, settlement, and release of and in exchange for its Claim, its Pro Rata share of the Priority
Claims Reserve.

          The failure to object to Confirmation by a Holder of an Allowed Administrative Claim or Priority Tax Claim
shall be deemed to be such Holder’s consent to receive treatment for such Claim that is different from that set forth in
section 1129(a)(9) of the Bankruptcy Code; provided, however, that the Holders of such Claims shall be deemed to
consent to the treatment on account of such Claims as provided herein. Notwithstanding the foregoing, no request for
payment of an Administrative Claim need be Filed with respect to an Administrative Claim Allowed by Final Order.

          If the Asset Sale Restructuring occurs, any amounts remaining in the Priority Claims Reserve after payment
of all Allowed Administrative Claims and all Allowed Priority Claims shall promptly be transferred to the General
Account and shall be distributed according to the priority set forth in Article VIII.G without any further action or order
of the Court.

B.       Professional Compensation

         1.       Final Fee Applications and Payment of Professional Fee Claims

         All final requests for payment of Professional Fee Claims incurred during the period from the Petition Date
through the Confirmation Date shall be Filed no later than 45 days after the Effective Date. All such final requests
will be subject to approval by the Bankruptcy Court after notice and a hearing in accordance with the procedures
established by the Bankruptcy Code, Bankruptcy Rules, and prior orders of the Bankruptcy Court, including the
Interim Compensation Order, and once approved by the Bankruptcy Court, shall be promptly paid from the
Professional Fee Escrow Account up to the full Allowed amount. To the extent that funds held in the Professional
Fee Escrow Account are insufficient to satisfy the amount of Professional Fee Claims owing to the Professionals, such
Professionals shall have an Allowed Administrative Claim for any such deficiency, and the Reorganized Debtors or
the Plan Administrator, as applicable, shall pay the full unpaid amount of such Allowed Administrative Claim in Cash.

         2.       Professional Fee Escrow Account

          On the Effective Date, the Reorganized Debtors shall establish and fund the Professional Fee Escrow Account
with Cash equal to the Professional Fee Reserve Amount. The Professional Fee Escrow Account shall be maintained
in trust solely for the Professionals. Such funds shall not be considered property of the Estates. The amount of
Professional Fee Claims owing to the Professionals shall be paid in Cash to such Professionals by the Reorganized
Debtors as soon as reasonably practicable after such Professional Fee Claims are Allowed. When all Allowed amounts
owing to the Professionals have been paid in full, any amount remaining in the Professional Fee Escrow Account shall
promptly be paid to the Reorganized Debtors without any further action or order of the Bankruptcy Court. If the
Professional Fee Escrow Account is insufficient to fund the full Allowed amounts of Professional Fee Claims, the
remaining unpaid Allowed Professional Fee Claims will be paid by the Reorganized Debtors.

         3.       Professional Fee Reserve Amount

         Professionals shall reasonably estimate their unpaid Professional Fee Claims, and shall deliver such estimate
to the Debtors no later than five days before the Effective Date; provided that such estimate shall not be deemed to
limit the amount of the fees and expenses that are the subject of the Professional’s final request for payment of

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Professional Fee Claims. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may
estimate the unpaid and unbilled fees and expenses of such Professional.

         4.        Post-Confirmation Date Fees and Expenses

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to, or action, order, or approval of, the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses incurred
by the Professionals. Upon the Confirmation Date, any requirement that Professionals comply with sections 327
through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation for services rendered after such
date shall terminate, and the Reorganized Debtors or the Plan Administrator, as applicable, may employ and pay any
Professional in the ordinary course of business without any further notice to, or action, order, or approval of, the
Bankruptcy Court.

C.       DIP Claims

       As of the Effective Date, the DIP Claims shall be Allowed Claims in the full amount outstanding under the
DIP Agreement, including principal, interest, fees, and expenses.

          Except to the extent that a Holder of an Allowed DIP Claim agrees to a less favorable treatment, in full and
final satisfaction of the Allowed DIP Claims, each Holder of an Allowed DIP Claim: (i) if the Equitization
Restructuring occurs, will either be: (a) indefeasibly repaid in full in Cash on the Effective Date; or (b) with the
consent of such Holder, receive its Pro Rata share of the Exit Facility; or (ii) if the Asset Sale Restructuring occurs,
paid all Distribution Proceeds available for distribution under Article VIII.G hereof until such Allowed DIP Claims
are repaid in full. As used in this paragraph, “repaid in full in Cash” shall mean the indefeasible payment in full in
Cash of all DIP Claims, the cancelation, backing, or cash collateralization of letters of credit under the DIP Facility in
accordance with the terms of the DIP Documents, and the termination of the DIP Agent’s and DIP ABL Lenders’
obligation to extend credit under the DIP Facility.

D.       Statutory Fees

          All fees due and payable pursuant to section 1930 of Title 28 of the United States Code before the Effective
Date shall be paid by the Debtors. On and after the Effective Date, to the extent applicable, the Reorganized Debtors
shall pay any and all such fees when due and payable, and shall File with the Bankruptcy Court quarterly reports in a
form reasonably acceptable to the U.S. Trustee. Each Reorganized Debtor shall remain obligated to pay quarterly fees
to the U.S. Trustee until the earliest of the applicable Debtor’s Chapter 11 Case being closed, dismissed, or converted
to a case under chapter 7 of the Bankruptcy Code.

                                         ARTICLE III.
                    CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Summary of Classification

         Claims and Interests, except for DIP Claims, Administrative Claims, and Priority Tax Claims, are classified
in the Classes set forth in this Article III. A Claim or Interest is classified in a particular Class only to the extent that
the Claim or Interest qualifies within the description of that Class and is classified in other Classes to the extent that
any portion of the Claim or Interest qualifies within the description of such other Classes. Except as otherwise
provided in this Plan, a Claim or Interest also is classified in a particular Class for the purpose of receiving distributions
pursuant to the Plan only to the extent that such Claim is an Allowed Claim in that Class and has not been paid,
released, or otherwise satisfied before the Effective Date.




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           1.      Class Identification

           The classification of Claims and Interests against each Debtor (as applicable) pursuant to the Plan is as
follows:

     Class         Claim or Interest                        Status                       Voting Rights
       1           Other Secured Claims                     Unimpaired                   Presumed to Accept
       2           Other Priority Claims                    Impaired                     Entitled to Vote
       3           Term Loan Secured Claims                 Impaired                     Entitled to Vote
       4           General Unsecured Claims                 Impaired                     Entitled to Vote
       5           Intercompany Claims                      Unimpaired / Impaired        Not Entitled to Vote
       6           Intercompany Interests                   Unimpaired / Impaired        Not Entitled to Vote
       7           Interests in Shopko                      Impaired                     Deemed to Reject
       8           Section 510(b) Claims                    Impaired                     Deemed to Reject

B.         Treatment of Claims and Interests

          Subject to Article VI hereof, each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive
under the Plan the treatment described below in full and final satisfaction, compromise, settlement, release, and
discharge of, and in exchange for, such holder’s Allowed Claim or Allowed Interest, except to the extent different
treatment is agreed to by the Debtors and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless
otherwise indicated, the holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment
on the later of the Effective Date and the date such holder’s Claim or Interest becomes an Allowed Claim or Allowed
Interest or as soon as reasonably practicable thereafter.


           1.      Class 1 – Other Secured Claims

                   a.       Classification: Class 1 consists of Other Secured Claims against any Debtor.

                   b.       Treatment: Each Holder of an Allowed Other Secured Claim will receive, at the Debtors’
                            election: (a) payment in full in Cash, which may come from the Other Secured Claims
                            Reserve; (b) delivery of the collateral securing any such Claim and payment of any interest
                            required under section 506(b) of the Bankruptcy Code; (c) Reinstatement of such Claim;
                            or (d) other treatment rendering such Claim Unimpaired.

                   c.       Voting: Class 1 is Unimpaired. Holders of Other Secured Claims are conclusively
                            presumed to have accepted the Plan under section 1126(f) of the Bankruptcy Code and are
                            not entitled to vote to accept or reject the Plan.

           2.      Class 2 – Other Priority Claims

                   a.       Classification: Class 2 consists of Other Priority Claims.

                   b.       Treatment: Each Holder of an Allowed Other Priority Claim will receive its Pro Rata share
                            of the Priority Claims Reserve. The failure to object to Confirmation by a Holder of an
                            Allowed Other Priority Claim shall be deemed to be such Holder’s consent to receive
                            treatment for such Claim that is different from that set forth in section 1129(a)(9) of the
                            Bankruptcy Code.



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            c.      Voting: Class 2 is Impaired. Holders of Other Priority Claims are entitled to vote to accept
                    or reject the Plan.

      3.    Class 3 – Term Loan Secured Claims

            a.      Classification: Class 3 consists of all Term Loan Secured Claims.

            b.      Treatment: If the Equitization Restructuring occurs, Holders of Allowed Term Loan
                    Secured Claims will receive either: (a) Cash equal to the outstanding amount of the Term
                    Loan B Claims; (b) any remaining Cash on hand as of the Effective Date less (x) the
                    Minimum Liquidity Threshold and (y) Cash necessary to make distributions to Holders of
                    all Allowed Claims pursuant to Article II hereof and Holders of Allowed Other Secured
                    Claims and Holders of Allowed Other Priority Claims pursuant to Article III hereof ; or (c)
                    as agreed by such Holder of an Allowed Term Loan Secured Claim and the Debtors, its
                    Pro Rata share of the Exit Facility.

                    If the Asset Sale Restructuring occurs, each Holder of an Allowed Term Loan Secured
                    Claim shall receive its Pro Rata share of the Distribution Proceeds available for distribution
                    to Holders of Allowed Term Loan Secured Claims from time to time as provided in Article
                    VIII.G hereof, until such Allowed Term Loan Secured Claims are paid in full.

            c.      Voting: Class 3 is Impaired. Holders of Allowed Term Loan Secured Claims are entitled
                    to vote to accept or reject the Plan.

      4.    Class 4 – General Unsecured Claims

            a.      Classification: Class 4 consists of all General Unsecured Claims.

            b.      Treatment: If the Equitization Restructuring occurs, each Holder of an Allowed General
                    Unsecured Claim shall receive its Pro Rata share of, at the election of the Debtors, either
                    (a) 100 percent of the New Shopko Interests, subject to dilution by the Plan Sponsor
                    Investment and the Management Incentive Plan, or (b) its Pro Rata share of the GUC
                    Equitization Reserve in one or more distributions.

                    If the Asset Sale Restructuring occurs, each Holder of a General Unsecured Claim will
                    receive its Pro Rata share of the Distribution Proceeds as provided in Article VIII.G hereof.

            c.      Voting: Class 4 is Impaired. Holders of Allowed General Unsecured Claims are entitled
                    to vote to accept or reject the Plan.

      5.    Class 5 – Intercompany Claims

            a.      Classification: Class 5 consists of all Intercompany Claims.

            b.      Treatment: Each Allowed Intercompany Claim, unless otherwise provided for under the
                    Plan, will either be Reinstated or canceled and released at the option of the Debtors;
                    provided that no distributions shall be made on account of any such Intercompany Claims.

            c.      Voting: Class 5 is either Unimpaired, and the Holders of Allowed Intercompany Claims
                    are conclusively presumed to have accepted the Plan under section 1126(f) of the
                    Bankruptcy Code, or Impaired, and the Holders of Allowed Intercompany Claims are
                    deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code. Holders
                    of Intercompany Claims are not entitled to vote to accept or reject the Plan.



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         6.       Class 6 – Intercompany Interests

                  a.       Classification: Class 6 consists of all Intercompany Interests.

                  b.       Treatment: Each Allowed Intercompany Interest shall be Reinstated for administrative
                           convenience or canceled and released without any distribution on account of such interests
                           at the option of the Debtors.

                           Voting: Class 6 is either Unimpaired, and the Holders of Allowed Intercompany Interests
                           are conclusively presumed to have accepted the Plan under section 1126(f) of the
                           Bankruptcy Code, or Impaired, and the Holders of Allowed Intercompany Interests are
                           deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code. Holders
                           of Intercompany Interests are not entitled to vote to accept or reject the Plan.

         7.       Class 7 – Interests in Shopko

                  a.       Classification: Class 7 consists of all Interests in Shopko.

                  b.       Treatment: Each Allowed Interest in Shopko shall be canceled, released, and extinguished,
                           and will be of no further force or effect and no Holder of Interests in Shopko shall be
                           entitled to any recovery or distribution under the Plan on account of such Interests.

                  c.       Voting: Class 7 is Impaired. Holders of Interests in Shopko are deemed to have rejected
                           the Plan under section 1126(g) of the Bankruptcy Code and are not entitled to vote to accept
                           or reject the Plan.

         8.       Class 8 – Section 510(b) Claims

                  a.       Classification: Class 8 consists of all Section 510(b) Claims.

                  b.       Treatment: Section 510(b) Claims will be canceled, released, and extinguished as of the
                           Effective Date, and will be of no further force or effect, and each Holder of a Section 510(b)
                           Claim will not receive any distribution on account of such Section 510(b) Claim. The
                           Debtors are not aware of any valid Section 510(b) Claims and believe that no such Section
                           510(b) Claims exist.

                  c.       Voting: Class 8 is Impaired. Holders of Section 510(b) Claims are deemed to have rejected
                           the Plan under section 1126(g) of the Bankruptcy Code and are not entitled to vote to accept
                           or reject the Plan.

C.       Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights in respect of any Unimpaired Claim, including all rights in respect of legal and equitable defenses to
or setoffs or recoupments against any such Unimpaired Claim.

D.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by at least one Impaired Class of Claims. The Debtors shall seek Confirmation of the Plan pursuant to
section 1129(b) of the Bankruptcy Code with respect to any rejecting Class(es) of Claims and Interests. The Debtors
reserve the right to modify the Plan in accordance with Article X hereof to the extent, if any, that Confirmation
pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment
applicable to a Class of Claims to render such Class of Claims Unimpaired to the extent permitted by the Bankruptcy
Code and the Bankruptcy Rules.

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E.        Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

F.        Voting Classes; Presumed Acceptance by Non-Voting Classes

         If a Class of Claims or Interests is eligible to vote and no Holder of Claims or Interests, as applicable, in such
Class votes to accept or reject the Plan, the Plan shall be presumed accepted by such Class.

G.        Subordinated Claims and Interests

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and their respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors or Reorganized Debtors, as applicable,
reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance with any contractual, legal, or
equitable subordination relating thereto.

                                                 ARTICLE IV.
                                    MEANS FOR IMPLEMENTATION OF THE PLAN2

A.        General Settlement of Claims

           Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date, the provisions
of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, Causes of Action, and
controversies released, settled, compromised, discharged, satisfied, or otherwise resolved pursuant to the Plan. The
Plan shall be deemed a motion to approve the good-faith compromise and settlement of all such Claims, Interests,
Causes of Action, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy
Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise
is fair, equitable, reasonable, and in the best interests of the Debtors and their Estates.

B.        Restructuring Transactions

          Before, on, and after the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall take all
actions as may be necessary or appropriate to effectuate the Restructuring Transactions, including: (a) the execution
and delivery of any appropriate agreements or other documents of merger, consolidation, restructuring, conversion,
disposition, transfer, dissolution, or liquidation containing terms that are consistent with the terms of the Plan, and
that satisfy the requirements of applicable law and any other terms to which the applicable Entities may agree; (b) the
execution and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset,
property, right, liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms for
which the applicable parties agree; (c) the filing of appropriate certificates or articles of incorporation, reincorporation,
merger, consolidation, conversion, or dissolution pursuant to applicable state law; (d) such other transactions that are
required to effectuate the Restructuring Transactions; (e) all transactions necessary to provide for the purchase of
substantially all of the assets of, or Interests in, any of the Debtors by one or more Entities to be wholly owned by
Reorganized Shopko or any other Entity pursuant to the Asset Purchase Agreement, which purchase may be structured

2    The Special Committee, with the assistance of its counsel and advisors, is currently undertaking an investigation into Estate claims and Causes
     of Action. The Debtors reserve all rights to modify the Plan, including the release provisions of the Plan, and the Debtors reserve all rights
     and claims with respect thereto.


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as a taxable transaction for United States federal income tax purposes; and (f) all other actions that the applicable
Entities determine to be necessary or appropriate, including making filings or recordings that may be required by
applicable law.

C.       Cancelation of Notes, Instruments, Certificates, and Other Documents

          On the Effective Date, except as otherwise specifically provided for in the Plan: (1) the obligations of any
Debtor under any certificate, share, note, bond, indenture, purchase right, or other instrument or document, directly or
indirectly evidencing or creating any indebtedness or obligation of or ownership interest, equity, or portfolio interest
in the Debtors or any warrants, options, or other securities exercisable or exchangeable for, or convertible into, debt,
equity, ownership, or profits interests in the Debtors giving rise to any Claim or Interest shall be canceled and deemed
surrendered as to the Debtors and shall not have any continuing obligations thereunder; and (2) the obligations of the
Debtors pursuant, relating, or pertaining to any agreements, indentures, certificates of designation, bylaws, or
certificates or articles of incorporation or similar documents governing the shares, certificates, notes, bonds, indenture,
purchase rights, options, warrants, or other instruments or documents evidencing or creating any indebtedness or
obligation of the Debtors shall be fully released, settled, and compromised.

D.       Exemption from Certain Taxes and Fees

         Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant hereto, including the
Asset Sales, or the issuance, transfer or exchange of any security under the Plan shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax,
sale or use tax, mortgage recording tax, or other similar tax or governmental assessment, and upon entry of the
Confirmation Order, the appropriate state or local governmental officials or agents shall forgo the collection of any
such tax or governmental assessment and accept for filing and recordation any of the foregoing instruments or other
documents pursuant to such transfers of property without the payment of any such tax, recordation fee, or
governmental assessment.

E.       Surcharge

         The filing of the Plan constitutes a motion for an order of the Bankruptcy Court approving, pursuant to section
506(c) of the Bankruptcy Code, the Allowed Surcharge.

F.       The Equitization Restructuring

         Unless otherwise determined by the Debtors before the Confirmation Hearing, the Debtors shall effectuate
the Equitization Restructuring. The following provisions shall govern the Equitization Restructuring.

         1.       Sources of Consideration for Plan of Reorganization Distributions

         The Reorganized Debtors will fund distributions under the Plan with Cash on hand on the Effective Date and
the revenues and proceeds of all assets of the Debtors, including proceeds from all Causes of Action not settled,
released, discharged, enjoined, or exculpated under the Plan or otherwise on or prior to the Effective Date, and the
New Shopko Interests.

         2.       Issuance and Distribution of New Shopko Interests

         On the Effective Date, the Reorganized Debtors shall issue the New Shopko Interests to fund distributions to
certain Holders of Allowed Claims in accordance with Article III of the Plan. The issuance of New Shopko Interests
under the Plan, as well as options, or other equity awards, if any, reserved under the Management Incentive Plan, is
duly authorized without the need for any further corporate action and without any further action by the Debtors or
Reorganized Debtors or the Holders of Claims.

       On the Effective Date, Holders of New Shopko Interests shall be parties to the New Stockholders’
Agreement, in substantially the form included in the Plan Supplement. On the Effective Date, Reorganized Shopko

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shall enter into and deliver the New Stockholders’ Agreement to each Entity that is intended to be a party thereto, and
such New Stockholders’ Agreement shall be deemed to be valid, binding, and enforceable in accordance with its
terms, and each Holder of New Shopko Interests shall be bound thereby, in each case without the need for execution
by any party thereto other than Reorganized Shopko.

         3.       Exit Facility

         On the Effective Date, the Reorganized Debtors shall enter into the Exit Facility. Confirmation of the Plan
shall be deemed approval of the Exit Facility and the Exit Facility Documents, and all transactions contemplated
thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized
Debtors in connection therewith, including the payment of all fees, indemnities, and expenses provided for therein,
and authorization of the Reorganized Debtors to enter into and execute the Exit Facility Documents and such other
documents as may be required to effectuate the Exit Facility.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the Exit Facility
Documents (i) shall be deemed to be granted, (ii) shall be legal, binding, and enforceable Liens on, and security
interests in, the applicable collateral in accordance with the respective terms of the Exit Facility Documents, (iii) shall
be deemed perfected on the Effective Date, subject only to such Liens and security interests as may be permitted under
the respective Exit Facility Documents, and (iv) shall not be subject to recharacterization or equitable subordination
for any purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances under the
Bankruptcy Code or any applicable nonbankruptcy law. The Reorganized Debtors and the Entities granted such Liens
and security interests shall be authorized to make all filings and recordings, and to obtain all governmental approvals
and consents necessary to establish and perfect such Liens and security interests under the provisions of the applicable
state, federal, or other law that would be applicable in the absence of the Plan and the Confirmation Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation Order (subject solely
to the occurrence of the Effective Date) and any such filings, recordings, approvals, and consents shall not be required),
and will thereafter cooperate to make all other filings and recordings that otherwise would be necessary under
applicable law to give notice of such Liens and security interests to third parties.

         4.       Plan Sponsor Investment

         On the Effective Date, the Plan Sponsor shall consummate the Plan Sponsor Investment, if any, in exchange
 for up to 100 percent of the New Shopko Interests, subject to dilution by Management Incentive Plan. The Cash
 received from the Plan Sponsor Investment shall be contributed to the Reorganized Debtors on the Effective Date.

         5.       Corporate Existence

          Except as otherwise provided in the Plan, the New Organizational Documents, the New Stockholders’
Agreement, or any agreement, instrument, or other document incorporated in the Plan or the Plan Supplement, on the
Effective Date, each Debtor shall continue to exist after the Effective Date as a separate corporation, limited liability
company, partnership, or other form of entity, as the case may be, with all the powers of a corporation, limited liability
company, partnership, or other form of entity, as the case may be, pursuant to the applicable law in the jurisdiction in
which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of incorporation and
bylaws (or other analogous formation documents) in effect before the Effective Date, except to the extent such
certificate of incorporation and bylaws (or other analogous formation documents) are amended by the Plan or
otherwise, and to the extent such documents are amended, such documents are deemed to be amended pursuant to the
Plan and require no further action or approval.

         6.       Vesting of Assets in the Reorganized Debtors

         Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, on the Effective Date, all property in each Estate, all Causes of Action, and any
property acquired by any of the Debtors, including interests held by the Debtors in their respective non-Debtor
subsidiaries, shall vest in each applicable Reorganized Debtor, free and clear of all Liens, Claims, charges, or other
encumbrances. On and after the Effective Date, except as otherwise provided in the Plan, each Reorganized Debtor

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may operate its business and may use, acquire, or dispose of property, and compromise or settle any Claims, Interests,
or Causes of Action without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules.

         7.       Corporate Action

          Upon the Effective Date, or as soon thereafter as is reasonably practicable, all actions contemplated by the
Plan shall be deemed authorized and approved by the Bankruptcy Court in all respects, including, as applicable: (1) the
implementation of the Restructuring Transactions; (2) the selection of the directors and officers for the Reorganized
Debtors; (3) the entry into the Exit Facilities and the incurrence of credit thereunder; (4) the adoption of the
Management Incentive Plan by the Reorganized Shopko Board; (5) the issuance and distribution of the New Shopko
Interests; and (6) all other actions contemplated by the Plan (whether to occur before, on, or after the Effective Date).
Upon the Effective Date, all matters provided for in the Plan involving the corporate structure of the Reorganized
Debtors, and any corporate action required by the Debtors, or the other Reorganized Debtors in connection with the
Plan, shall be deemed to have occurred and shall be in effect, without any requirement of further action by the security
holders, directors, or officers of the Debtors, or the Reorganized Debtors. On or (as applicable) before the Effective
Date, the appropriate officers of the Debtors or the Reorganized Debtors shall be authorized and (as applicable)
directed to issue, execute, and deliver the agreements, documents, securities, and instruments contemplated by the
Plan (or necessary or desirable to effect the transactions contemplated by the Plan) in the name of and on behalf of the
Reorganized Debtors, including the Exit Facilities, the New Shopko Interests, and any and all other agreements,
documents, securities, and instruments relating to the foregoing, to the extent not previously authorized by the
Bankruptcy Court. The authorizations and approvals contemplated by this Article IV.F.7 shall be effective
notwithstanding any requirements under non-bankruptcy law.

         8.       New Organizational Documents

         On the Effective Date, each of the Reorganized Debtors will file its New Organizational Documents with the
applicable Secretaries of State and/or other applicable authorities in its respective state of incorporation or formation
in accordance with the applicable laws of the respective state of incorporation or formation. The New Organizational
Documents shall be consistent with section 1123(a)(6) of the Bankruptcy Code. Pursuant to section 1123(a)(6) of the
Bankruptcy Code, the New Organizational Documents will prohibit the issuance of non-voting equity securities. After
the Effective Date, the Reorganized Debtors may amend and restate their respective New Organizational Documents
and other constituent documents as permitted by the laws of their respective states of incorporation and their respective
New Organizational Documents.

         9.       Directors and Officers of the Reorganized Debtors

         As of the Effective Date, the terms of the current members of the board of directors of the Debtors shall
expire, and the New Boards and new officers of each of the Reorganized Debtors shall be appointed in accordance
with the New Organizational Documents and other constituent documents of each Reorganized Debtor. The identities
of the Reorganized Shopko Board shall be included in the Plan Supplement.

          Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will, to the extent reasonably practicable,
disclose in advance of the Confirmation Hearing the identity and affiliations of any Person proposed to serve on the
New Boards, as well as those Persons that will serve as officers of the Reorganized Debtors. To the extent any such
director or officer is an “insider” under the Bankruptcy Code, the nature of any compensation to be paid to such
director or officer will also be disclosed. Provisions regarding the removal, appointment, and replacement of members
of the New Boards will be disclosed in the New Organizational Documents.

         10.      Effectuating Documents; Further Transactions

         On and after the Effective Date, the Reorganized Debtors, their officers, and the members of the New Boards
are authorized to and may issue, execute, deliver, file, or record such contracts, Securities, instruments, releases, and
other agreements or documents and take such actions as may be necessary or appropriate to effectuate, implement,
and further evidence the terms and conditions of the Plan and the Securities issued pursuant to the Plan, including the

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New Shopko Interests, and the Exit Facilities, in the name of and on behalf of the Reorganized Debtors, without the
need for any approvals, authorization, or consents.

         11.      Preservation of Causes of Action

          Unless any Cause of Action against an Entity is expressly waived, relinquished, exculpated, released,
compromised, or settled in the Plan or a Final Order, in accordance with section 1123(b) of the Bankruptcy Code, the
Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action (including all Avoidance Actions), whether arising before or after the Petition Date, including any
actions specifically enumerated in the Plan Supplement, and such rights to commence, prosecute, or settle such Causes
of Action shall be preserved notwithstanding the occurrence of the Effective Date. The Reorganized Debtors may
pursue such Causes of Action, as appropriate, in the Reorganized Debtors’ sole discretion. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors will not pursue any and all available Causes
of Action against it. The Debtors or the Reorganized Debtors, as applicable, expressly reserve all rights to prosecute
any and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan. Unless any
Causes of Action against an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled
under the Plan or pursuant to a Bankruptcy Court order, the Debtors or Reorganized Debtors, as applicable, expressly
reserve all Causes of Action for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of
res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or
laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.
In accordance with section 1123(b)(3) of the Bankruptcy Code, except as otherwise provided herein, any Causes of
Action that a Debtor may hold against any Entity shall vest in the Reorganized Debtors. The applicable Reorganized
Debtor, through their authorized agents or representatives, shall retain and may exclusively enforce any and all such
Causes of Action. The Reorganized Debtors shall have the exclusive right, authority, and discretion to determine and
to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such
Causes of Action, and to decline to do any of the foregoing without the consent or approval of any third party or
further notice to, or action, order, or approval of, the Bankruptcy Court.

         12.      Management Incentive Plan

        The Reorganized Shopko Board will be authorized to implement the Management Incentive Plan. The
Management Incentive Plan shall provide for the issuance of options and/or equity based compensation to certain
members of management of Reorganized Shopko. New Shopko Interests representing up to 10 percent of the New
Shopko Interests outstanding as of the Effective Date on a fully-diluted basis shall be reserved for issuance in
connection with the Management Incentive Plan.

         13.      Employee Obligations

          On the Effective Date, the Debtors shall be deemed to have assumed each of the written contracts,
agreements, policies, programs and plans for compensation, bonuses, reimbursement, health care benefits, disability
benefits, deferred compensation benefits, travel benefits, vacation and sick leave benefits, savings, severance benefits,
retirement benefits, welfare benefits, relocation programs, life insurance and accidental death and dismemberment
insurance, including written contracts, agreements, policies, programs, and plans for bonuses and other incentives or
compensation for the Debtors’ current and former employees, directors, officers, and managers, including executive
compensation programs and existing compensation arrangements for the employees of the Debtors (but excluding any
severance agreements with any of Debtors’ former employees).

         14.      Reporting Upon Emergence

          On the Effective Date, none of the New Shopko Interests will be registered under the Securities Act or the
Securities Exchange Act or listed on a national securities exchange, Reorganized Shopko will not be a reporting
company under the Securities Exchange Act, Reorganized Shopko shall not be required to and will not file Securities
Exchange Act reports with the Securities and Exchange Commission or any other entity or party, and Reorganized
Shopko shall not be required to file monthly operating reports with the Bankruptcy Court after the Effective Date. In
order to prevent Reorganized Shopko from becoming subject to the reporting requirements of the Securities Exchange
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Act, except in connection with a public offering, a separate agreement or Reorganized Shopko’s organizational
documents may impose certain trading restrictions, and the New Shopko Interests may be subject to certain transfer
and other restrictions designed to maintain Reorganized Shopko as a private, non-reporting company.

         Notwithstanding the foregoing in this Section 11, from and after the Effective Date, Reorganized Shopko
shall be required to provide (via separate agreement or in its organizational documents) to its shareholders audited
annual and unaudited quarterly financial statements for such periods, with such statements being prepared in
accordance with U.S. GAAP (no SAS 100 review, compliance with any other requirement of Regulation S-X under
the Securities Act or narrative disclosure required to be provided by reporting companies under the Securities
Exchange Act in periodic or other reports (including a Management’s Discussion and Analysis of Financial Condition
and Results of Operations) is required in connection with the delivery of the required financial statements).
Reorganized Debtors may also be required to provide certain financial information to other parties pursuant to
contracts that are in effect on or after the Effective Date.

G.       The Asset Sale Restructuring

         If the Asset Sale Restructuring occurs, the following provisions shall govern.

         1.       Vesting of Assets

         Except as otherwise provided in the Plan, the Asset Purchase Agreement, or any agreement, instrument, or
other document incorporated herein or therein, on the Effective Date, the assets of the Debtors shall vest in the
Reorganized Debtors for the purpose of liquidating the Estates, free and clear of all Liens, Claims, charges, or other
encumbrances. On and after the Effective Date, except as otherwise provided for in the Plan or the Asset Purchase
Agreement, the Debtors and the Reorganized Debtors may operate their business and use, acquire, or dispose of
property, and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

         2.       Sources of Consideration for Plan Distributions

         The Reorganized Debtors will fund distributions under the Plan with Cash on hand on the Effective Date and
the revenues and proceeds of all assets of the Debtors, including proceeds from all Causes of Action not settled,
released, discharged, enjoined, or exculpated under the Plan or otherwise on or prior to the Effective Date.

         Notwithstanding anything to the contrary in the Plan or in the Asset Purchase Agreements, on the Effective
Date, any Cause of Action not settled, released, discharged, enjoined, or exculpated under Error! Reference source
not found. of the Plan on or prior to the Effective Date shall vest in the Reorganized Debtors and shall be subject to
administration by the Plan Administrator.

         3.       Asset Sales

          On the Effective Date, the Debtors shall consummate the Asset Sales and, among other things, the acquired
assets, as set forth in the Asset Purchase Agreement, shall be transferred to and vest in the Purchaser free and clear of
all Liens, Claims, charges, or other encumbrances pursuant to the terms of the Asset Purchase Agreement and
Confirmation Order. The Purchaser shall be deemed not to be a successor of the Debtors. On the Effective Date, the
Purchaser shall pay to the Debtors the proceeds from the Asset Sales, as and to the extent provided for in the Asset
Purchase Agreements. The Confirmation Order shall: (a) approve the Asset Purchase Agreement; and (b) authorize
the Debtors or Reorganized Debtors, as applicable, to undertake the transactions contemplated by the Asset Purchase
Agreement, including pursuant to sections 363, 365, 1123(a)(5)(B), and 1123(a)(5)(D) of the Bankruptcy Code.

         4.       Reorganized Debtors

         On and after the Effective Date, the Reorganized Debtors shall continue in existence for purposes of
(a) winding down the Debtors’ business and affairs as expeditiously as reasonably possible, (b) resolving Disputed
Claims, (c) making distributions on account of Allowed Claims as provided hereunder, (d) establishing and funding

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the Distribution Reserve Accounts, (e) enforcing and prosecuting claims, interests, rights, and privileges under the
Causes of Action on the Retained Causes of Action List in an efficacious manner and only to the extent the benefits
of such enforcement or prosecution are reasonably believed to outweigh the costs associated therewith, (f) filing
appropriate tax returns, (g) complying with its continuing obligations under the Purchase Agreements, if any, and
(h) administering the Plan in an efficacious manner. The Reorganized Debtors shall be deemed to be substituted as
the party-in-lieu of the Debtors in all matters, including (i) motions, contested matters, and adversary proceedings
pending in the Bankruptcy Court and (ii) all matters pending in any courts, tribunals, forums, or administrative
proceedings outside of the Bankruptcy Court, in each case without the need or requirement for the Plan Administrator
to file motions or substitutions of parties or counsel in each such matter.

         5.        Plan Administrator

         The Plan Administrator shall act for the Reorganized Debtors in the same fiduciary capacity as applicable to
a board of managers, directors, and officers, subject to the provisions hereof (and all certificates of formation,
membership agreements, and related documents are deemed amended by the Plan to permit and authorize the same).
On the Effective Date, the authority, power, and incumbency of the persons acting as managers, directors, or sale
director of the Reorganized Debtors shall be deemed to have resigned, solely in their capacities as such, and the Plan
Administrator shall be appointed as the sole manager, sole director, and sole officer of the Reorganized Debtors, and
shall succeed to the powers of the Reorganized Debtors’ managers, directors, and officers. From and after the
Effective Date, the Plan Administrator shall be the sole representative of, and shall act for, the Reorganized Debtors.
The foregoing shall not limit the authority of the Reorganized Debtors or the Plan Administrator, as applicable, to
continue the employment any former manager or officer, including pursuant to any transition services agreement
entered into on or after the Effective Date by and between the Reorganized Debtors and the Purchaser.

         6.        Dissolution and Board of the Debtors

          As of the Effective Date, the existing board of directors or managers, as applicable, of the Debtors shall be
dissolved without any further action required on the part of the Debtors or the Debtors’ officers, directors, managers,
shareholders, or members, and any remaining officers, directors, managers, or managing members of any Debtor shall
be dismissed without any further action required on the part of any such Debtor, the equity holders of the Debtors, the
officers, directors, or managers, as applicable, of the Debtors, or the members of any Debtor. Subject in all respects
to the terms of this Plan, the Debtors shall be dissolved as soon as practicable on or after the Effective Date, but in no
event later than the closing of the Chapter 11 Cases.

         As of the Effective Date, the Plan Administrator shall act as the sole officer, director, and manager, as
applicable, of the Debtors with respect to its affairs. Subject in all respects to the terms of this Plan, the Plan
Administrator shall have the power and authority to take any action necessary to wind down and dissolve any of the
Debtors, and shall: (a) file a certificate of dissolution for any of the Debtors, together with all other necessary corporate
and company documents, to effect the dissolution of Shopko under the applicable laws of its state of formation; and
(b) complete and file all final or otherwise required federal, state, and local tax returns and shall pay taxes required to
be paid for any of the Debtors, and pursuant to section 505(b) of the Bankruptcy Code, request an expedited
determination of any unpaid tax liability of any of the Debtors or their Estates for any tax incurred during the
administration of such Debtor’s Chapter 11 Case, as determined under applicable tax laws.

         The filing by the Plan Administrator of any of the Debtors’ certificate of dissolution shall be authorized and
approved in all respects without further action under applicable law, regulation, order, or rule, including any action
by the stockholders, members, board of directors, or board of managers of Shopko or any of its affiliates.

         7.        Release of Liens

        Except as otherwise expressly provided herein, on the Effective Date, all Liens on any property of any
Debtors or the Reorganized Debtors shall automatically terminate, all property subject to such Liens shall be




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automatically released, and all guarantees of any Debtors or the Reorganized Debtors shall be automatically
discharged and released.

         8.       Corporate Action

          Upon the Effective Date, all actions contemplated under the Plan, regardless of whether taken before, on, or
after the Effective Date, shall be deemed authorized and approved in all respects, including: (a) consummation of the
Asset Sales; and (b) all other actions contemplated under the Plan (whether to occur before, on, or after the Effective
Date). All matters provided for in the Plan or deemed necessary or desirable by the Debtors before, on, or after the
Effective Date involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate action
required by the Debtors or the Reorganized Debtors in connection with the Plan or corporate structure of the Debtors
or Reorganized Debtors, shall be deemed to have occurred and shall be in effect on the Effective Date, without any
requirement of further action by the security holders, directors, managers, or officers of the Debtors or the Reorganized
Debtors. Before, on, or after the Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors,
as applicable, shall be authorized to issue, execute, and deliver the agreements, documents, securities, and instruments
contemplated under the Plan (or necessary or desirable to effect the transactions contemplated under the Plan) in the
name of and on behalf of the Reorganized Debtors. The authorizations and approvals contemplated by this Article
IV.F.7 shall be effective notwithstanding any requirements under non-bankruptcy law.

         9.       Effectuating Documents; Further Transactions

         Prior to the Effective Date, the Debtors are, and on and after the Effective Date, the Reorganized Debtors,
the Plan Administrator, and the officers and members thereof are, authorized to and may issue, execute, deliver, file,
or record such contracts, securities, instruments, releases, and other agreements or documents and take such actions
as may be necessary or appropriate to effectuate, implement, and further evidence the terms and conditions of the
Plan, without the need for any approvals, authorizations, notice, or consents, except for those expressly required
pursuant to the Plan.

         10.      Preservation of Causes of Action

          Unless any Cause of Action against an Entity is expressly waived, relinquished, exculpated, released,
compromised, or settled in the Plan or a Final Order, in accordance with section 1123(b) of the Bankruptcy Code, the
Debtors shall convey to the Plan Administrator all rights to commence, prosecute, or settle, as appropriate, any and
all Causes of Action, whether arising before or after the Petition Date, which shall vest in the Plan Administrator
pursuant to the terms of the Plan. The Plan Administrator may enforce all rights to commence, prosecute, or settle, as
appropriate, any and all Causes of Action, whether arising before or after the Petition Date, and the Plan
Administrator’s rights to commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding
the occurrence of the Effective Date. The Plan Administrator may, in its reasonable business judgment, pursue such
Causes of Action and may retain and compensate professionals in the analysis or pursuit of such Causes of Action to
the extent the Plan Administrator deems appropriate, including on a contingency fee basis. No Entity may rely on the
absence of a specific reference in the Plan or the Disclosure Statement to any Cause of Action against them as any
indication that the Debtors or the Plan Administrator will not pursue any and all available Causes of Action against
them. The Debtors and the Plan Administrator expressly reserve all rights to prosecute any and all Causes of Action
against any Entity, except as otherwise expressly provided in the Plan; provided that the Debtors, in consultation with
the Plan Administrator after the Effective Date, may prosecute any such Cause of Action against any party only in
connection with their objection to and resolution of any Claim asserted by such party. Unless any Cause of Action
against an Entity is expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or a Final
Order, the Plan Administrator expressly reserves all Causes of Action for later adjudication, and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as a
consequence of the Confirmation or Consummation. The Plan Administrator reserves and shall retain the foregoing
Causes of Action notwithstanding the rejection of any Executory Contract or Unexpired Lease during the Chapter 11
Cases or pursuant to the Plan. The Plan Administrator shall have the exclusive right, authority, and discretion to
determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
judgment any such Causes of Action, or to decline to do any of the foregoing, without the consent or approval of any
third party or any further notice to, or action, order, or approval of, the Bankruptcy Court.
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         11.      Closing the Chapter 11 Cases

         Upon the occurrence of the Effective Date, the Plan Administrator shall be permitted to close all of the
Chapter 11 Cases except for the Chapter 11 Case of Shopko, and all contested matters relating to each of the Debtors,
including objections to Claims, shall be administered and heard in the Chapter 11 Case of Shopko.

         When all Disputed Claims have become Allowed or Disallowed and all remaining Cash has been distributed
in accordance with the Plan, the Plan Administrator shall seek authority from the Bankruptcy Court to close the
Chapter 11 Case of Shopko in accordance with the Bankruptcy Code and the Bankruptcy Rules.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases

         If the Equitization Restructuring occurs, on the Confirmation Date, except as otherwise provided in the Plan
or otherwise agreed to by the Debtors and the counterparty to an Executory Contract or Unexpired Lease, all Executory
Contracts or Unexpired Leases not previously assumed, assumed and assigned, or rejected in the Chapter 11 Cases,
shall be deemed assumed by the Reorganized Debtors, effective as of the Effective Date, in accordance with the
provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, not to be unreasonably withheld, and
regardless of whether such Executory Contract or Unexpired Lease is set forth on the Schedule of Assumed Executory
Contracts and Unexpired Leases, other than: (1) those that are identified on the Schedule of Rejected Executory
Contracts and Unexpired Leases; (2) those that have been previously rejected by a Final Order; (3) those that are the
subject of a motion to reject Executory Contracts or Unexpired Leases that is pending on the Confirmation Date; or
(4) those that are subject to a motion to reject an Executory Contract or Unexpired Lease pursuant to which the
requested effective date of such rejection is after the Effective Date. Except as otherwise provided in the Plan, the
Debtors shall assume, assume and assign, or reject, as the case may be, Executory Contracts and Unexpired Leases
set forth in the applicable Schedules in the Plan Supplement. Entry of the Confirmation Order shall constitute a
Bankruptcy Court order approving the assumptions, assumptions and assignments, or rejections of such Executory
Contracts or Unexpired Leases as set forth in the Plan or the Schedule of Rejected Executory Contracts and Unexpired
Leases, pursuant to sections 365(a) and 1123 of the Bankruptcy Code, except as otherwise provided in the Plan or the
Confirmation Order. Unless otherwise indicated or agreed by the Debtors and the applicable contract counterparties,
assumptions, assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to
the Plan are effective as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the
Plan or by Bankruptcy Court order but not assigned to a third party before the Effective Date shall re-vest in and be
fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms, except as such terms
may have been modified by any order of the Bankruptcy Court authorizing and providing for its assumption under
applicable federal law or as otherwise agreed by the Debtors and the applicable counterparty to the Executory Contract
or Unexpired Lease.

         If the Asset Sale Restructuring occurs, on the Effective Date, except as otherwise provided herein, each
Executory Contract and Unexpired Lease not previously rejected, assumed, or assumed and assigned, including any
employee benefit plans, severance plans, and other Executory Contracts under which employee obligations arise, shall
be deemed automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such Executory
Contract or Unexpired Lease: (1) is specifically described in the Plan as to be assumed in connection with
confirmation of the Plan, or is specifically scheduled to be assumed or assumed and assigned pursuant to the Plan or
the Plan Supplement; (2) is subject to a pending motion to assume such Unexpired Lease or Executory Contract as of
the Effective Date; (3) is to be assumed by the Debtors or assumed by the Debtors and assigned to another third party,
as applicable, in connection with the any sale transaction; (4) is a contract, instrument, release, indenture, or other
agreement or document entered into in connection with the Plan; or (5) is a D&O Liability Insurance Policy. Entry
of the Confirmation Order by the Bankruptcy Court shall constitute approval of such assumptions, assignments, and
rejections, including the assumption of the Executory Contracts or Unexpired Leases as provided in the Plan
Supplement, pursuant to sections 365(a) and 1123 of the Bankruptcy Code.




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B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Proofs of Claims with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases, if any, must be Filed with the Bankruptcy Court within the latest to occur of: (1) 30 days after the date of entry
of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection; (2) 30 days after
the Debtors provide notice of surrender of possession to a landlord of a rejected lease where surrender occurs after
entry of an order approving such rejection; and (3) 30 days after notice of any rejection that occurs after the Effective
Date. Any Holders of Claims arising from the rejection of an Executory Contract or Unexpired Lease for which
Proofs of Claims were not timely Filed shall not (1) be treated as a creditor with respect to such Claim, (2) be
permitted to vote to accept or reject the Plan on account of any Claim arising from such rejection, or
(3) participate in any distribution in the Chapter 11 Cases on account of such Claim, and any Claims arising
from the rejection of an Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within
such time will be automatically Disallowed, forever barred from assertion, and shall not be enforceable against
the Debtors, the Debtors’ Estates, the Reorganized Debtors, or the property for any of the foregoing without
the need for any objection by the Debtors, Reorganized Debtors, or the Plan Administrator, as applicable, or
further notice to, or action, order, or approval of, the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully compromised,
settled, and released, notwithstanding anything in the Schedules or a Proof of Claim to the contrary. Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III of the Plan.

        If an Equitization Restructuring occurs, counterparties to Executory Contracts or Unexpired Leases listed on
the Schedule of Rejected Executory Contracts and Unexpired Leases shall be served with a notice of rejection of
Executory Contracts and Unexpired Leases substantially in the form approved by the Bankruptcy Court, pursuant to
the Bankruptcy Court order approving the Disclosure Statement, as soon as reasonably practicable following entry of
the Bankruptcy Court order approving the Disclosure Statement.

C.       Cure of Defaults for Assumed, or Assumed and Assigned, Executory Contracts and Unexpired Leases

         Any monetary defaults under an Executory Contract or Unexpired Lease to be assumed, or assumed and
assigned, shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the Cure Claim, as
reflected on the Cure Notice or as otherwise agreed or determined by a Final Order of the Court, in Cash on the
Effective Date or as soon as reasonably practicable thereafter, subject to the limitations described below, or on such
other terms as the parties to such Executory Contract or Unexpired Leases may otherwise agree. In the event of a
dispute regarding: (1) the amount of any Cure Claim; (2) the ability of the Reorganized Debtors, the Purchaser, or
any assignee, as applicable, to provide “adequate assurance of future performance” (with the meaning of section 365
of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed or assumed and assigned;
or (3) any other matter pertaining to assumption or the assumption and assignment, the Cure Claims shall be made
following the entry of a Final Order resolving the dispute and approving the assumption or the assumption and
assignment.

          Unless otherwise provided by an order of the Bankruptcy Court or in the Asset Purchase Agreement, at least
seven days before the Voting Deadline, the Debtors shall distribute, or cause to be distributed, Cure Notices to the
applicable third parties. Any objection by a counterparty to an Executory Contract or Unexpired Lease to the
proposed assumption, assumption and assignment, or related Cure Claim must be Filed by the
Cure/Assumption Objection Deadline. Any counterparty to an Executory Contract or Unexpired Lease that fails to
object timely to the proposed assumption, assumption and assignment, or Cure Notice will be deemed to have assented
to such assumption or assumption and assignment, and Cure Claim. To the extent that the Debtors seek to assume
and assign an Executory Contract or Unexpired Lease pursuant to the Plan, the Debtors will identify the assignee in
the applicable Cure Notice and/or Schedule and provide “adequate assurance of future performance” for such assignee
(within the meaning of section 365 of the Bankruptcy Code) under the applicable Executory Contract or Unexpired
Lease to be assumed and assigned.

         Assumption or assumption and assignment of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise, and the payment of the Cure Claim, shall result in the full release and satisfaction of any Claims or
defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in control or
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ownership interest composition or other bankruptcy-related defaults, arising under any assumed Executory Contract
or Unexpired Lease at any time before the date that the Debtors assume or assume and assign such Executory Contract
or Unexpired Lease. Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has
been assumed or assumed and assigned shall be deemed Disallowed and expunged, without further notice to, or action,
order, or approval of, the Bankruptcy Court.

D.       Indemnification Obligations

          All indemnification obligations in place as of the Effective Date (whether in the by-laws, certificates of
incorporation or formation, limited liability company agreements, other organizational or formation documents, board
resolutions, indemnification agreements, employment contracts, or otherwise) for the current and former directors,
officers, managers, employees, attorneys, accountants, investment bankers, and other professionals of the Debtors, as
applicable, shall be assumed and remain in full force and effect after the Effective Date, and shall not be modified,
reduced, discharged, impaired, or otherwise affected in any way, and shall survive Unimpaired and unaffected,
irrespective of when such obligation arose.

E.       Director and Officer Liability Insurance

          To the extent that the D&O Liability Insurance Policies are considered to be Executory Contracts,
notwithstanding anything in the Plan to the contrary, effective as of the Effective Date, the Debtors shall be deemed
to have assumed all D&O Liability Insurance Policies with respect to the Debtors’ directors, managers, officers, and
employees serving on or before the Petition Date pursuant to section 365(a) of the Bankruptcy Code, and coverage
for defense and indemnity under any of the D&O Liability Insurance Policies shall remain available to all individuals
within the definition of “Insured” in any of the D&O Liability Insurance Policies. Entry of the Confirmation Order
will constitute the Bankruptcy Court’s approval of the Debtors’ foregoing assumption of each of the unexpired D&O
Liability Insurance Policies. Notwithstanding anything to the contrary contained herein, Confirmation of the Plan
shall not discharge, impair, or otherwise modify any indemnity obligations assumed by the foregoing assumption of
the D&O Liability Insurance Policies, and each such indemnity obligation will be deemed and treated as an Executory
Contract that has been assumed by the Debtors under the Plan as to which no Proof of Claim need be Filed.

F.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, and Executory Contracts and Unexpired Leases related thereto, if any,
including easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is rejected or repudiated
under the Plan.

         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any Claims
that may arise in connection therewith.

G.       Reservation of Rights

          Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Schedule of
Rejected Executory Contracts and Unexpired Leases or the Schedule of Assumed Executory Contracts and Unexpired
Leases, nor anything contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease
is in fact an Executory Contract or Unexpired Lease or that any Debtor or Reorganized Debtor has any liability
thereunder.




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H.       Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting any Unexpired Leases pursuant to section 365(d)(4) of
the Bankruptcy Code.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed

           Unless otherwise provided in the Plan, on the Effective Date or as soon as reasonably practicable thereafter
(or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes Allowed or as
soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Allowed Interest (or such Holder’s
affiliate) shall receive the full amount of the distributions that the Plan provides for Allowed Claims and Interests in
each applicable Class. In the event that any payment or act under the Plan is required to be made or performed on a
date that is not a Business Day, then the making of such payment or the performance of such act may be completed
on the next succeeding Business Day, but shall be deemed to have been completed as of the required date. If and to
the extent that there are Disputed Claims, distributions on account of any such Disputed Claims shall be made pursuant
to the provisions set forth in Article VII of the Plan. Except as otherwise provided in the Plan, Holders of Claims
shall not be entitled to interest, dividends, or accruals on the distributions provided for in the Plan, regardless of
whether such distributions are delivered on or at any time after the Effective Date.

B.       Disbursing Agent

         Distributions under the Plan shall be made by the Disbursing Agent. The Disbursing Agent shall not be
required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by the
Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and expenses
of procuring any such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Disbursing Agent

         1.       Powers of the Disbursing Agent

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.       Expenses Incurred On or After the Effective Date

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and out-of-pocket
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable
compensation and out of pocket expense reimbursement claims (including reasonable attorney fees and expenses)
made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions

         1.       Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date.


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         2.       Delivery of Distributions

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims, except as otherwise
provided in this Article VI, or Interests shall be made to Holders of record as of the Distribution Record Date by the
Disbursing Agent: (a) to the signatory set forth on any of the Proof of Claim Filed by such Holder or other
representative identified therein (or at the last known addresses of such Holder if no Proof of Claim is Filed or if the
Debtors have been notified in writing of a change of address); (b) at the addresses set forth in any written notices of
address changes delivered to the Disbursing Agent after the date of any related Proof of Claim; (c) at the addresses
reflected in the Schedules if no Proof of Claim has been Filed and the Reorganized Debtors have not received a written
notice of a change of address; or (d) on any counsel that has appeared in the Chapter 11 Cases on such Holder’s behalf.
Subject to this Article VI, distributions under the Plan on account of Allowed Claims shall not be subject to levy,
garnishment, attachment, or like legal process, so that each Holder of an Allowed Claim shall have and receive the
benefit of the distributions in the manner set forth in the Plan. The Debtors, the Disbursing Agent, the Reorganized
Debtors, or the Plan Administrator, as applicable, shall not incur any liability whatsoever on account of any
distributions under the Plan except for gross negligence or willful misconduct.

         3.       No Fractional Distributions

           No fractional shares of New Shopko Interests shall be distributed, and no Cash shall be distributed in lieu of
such fractional shares. When any distribution pursuant to the Plan on account of an Allowed Claim would otherwise
result in the issuance of a number of shares of New Shopko Interests that is not a whole number, the actual distribution
of shares of New Shopko Interests shall be rounded as follows: (a) fractions of one-half or greater shall be rounded
to the next higher whole number and (b) fractions of less than one-half shall be rounded to the next lower whole
number with no further payment therefore. The total number of authorized shares of New Shopko Interests to be
distributed pursuant to the Plan shall be adjusted as necessary to account for the foregoing rounding.

         4.       Minimum Distributions

         Holders of Allowed Claims entitled to distributions of $100 (whether Cash or otherwise) or less shall not
receive distributions, and each such Claim shall be discharged pursuant to Article VIII and its Holder is forever barred
pursuant to Article VIII from asserting that Claim against the Debtors, the Reorganized Debtors or the Plan
Administrator, as applicable, or their property.

         5.       Undeliverable Distributions and Unclaimed Property

         In the event that any distribution to any Holder is returned as undeliverable, no distribution to such Holder
shall be made unless and until the Disbursing Agent has determined the then-current address of such Holder, at which
time such distribution shall be made to such Holder without interest; provided that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six months from the Effective
Date. After such date, all unclaimed property or interests in property shall revert to the applicable Reorganized Debtor,
without need for a further order by the Bankruptcy Court (notwithstanding any applicable federal or state escheat,
abandoned, or unclaimed property laws to the contrary), and the Claim of any Holder to such property or Interest in
property shall be discharged and forever barred.

E.       Manner of Payment.

         Unless otherwise set forth herein, all distributions of Cash and the New Shopko Interests, as applicable, to
the Holders of Allowed Claims under the Plan shall be made by the Disbursing Agent. At the option of the Disbursing
Agent, any Cash payment to be made under the Plan may be made by check or wire transfer or as otherwise required
or provided in applicable agreements.

F.       Registration or Private Placement Exemption

         If a Equitization Restructuring occurs, the New Shopko Interests are or may be “securities,” as defined in
Section 2(a)(1) of the Securities Act, section 101 of the Bankruptcy Code, and applicable state securities laws.

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         Pursuant to section 1145 of the Bankruptcy Code, the issuances of the New Shopko Interests as contemplated
by the Plan are exempt from, among other things, the registration requirements of Section 5 of the Securities Act and
any other applicable U.S. state or local law requiring registration prior to the offering, issuance, distribution, or sale
of Securities. The New Shopko Interests (a) are not “restricted securities” as defined in Rule 144(a)(3) under the
Securities Act, and (b) are freely tradable and transferable by any initial recipient thereof that (i) is not an “affiliate”
of Reorganized Shopko as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate”
within 90 days of such transfer, and (iii) is not an entity that is an “underwriter” as defined in subsection (b) of Section
1145 of Title 11 of the United States Code.

          Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of the New
Shopko Interests through the facilities of DTC, the Reorganized Debtors need not provide any further evidence other
than the Plan or the Confirmation Order with respect to the treatment of the New Shopko Interests or under applicable
securities laws. DTC shall be required to accept and conclusively rely upon the Plan and Confirmation Order in lieu
of a legal opinion regarding whether the New Shopko Interests issued under the Plan are exempt from registration
and/or eligible for DTC book-entry delivery, settlement, and depository services.

          Notwithstanding anything to the contrary in the Plan, no entity (including DTC) may require a legal opinion
regarding the validity of any transaction contemplated by the Plan, including whether the New Shopko Interests issued
under the Plan are exempt from registration and/or eligible for DTC book entry delivery, settlement, and depository
services.

G.       Tax Issues and Compliance with Tax Requirements

          In connection with the Plan, to the extent applicable, the Reorganized Debtors or the Plan Administrator, as
applicable, shall comply with all tax withholding and reporting requirements imposed on them by any Governmental
Unit, and all distributions pursuant to the Plan shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Reorganized Debtors or the Plan Administrator, as
applicable, shall be authorized to take all actions necessary or appropriate to comply with such withholding and
reporting requirements, including liquidating a portion of the distribution to be made under the Plan to generate
sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of information
necessary to facilitate such distributions, or establishing any other mechanisms they believe are reasonable and
appropriate. The Reorganized Debtors or the Plan Administrator, as applicable, reserve the right to allocate all
distributions made under the Plan in compliance with applicable wage garnishments, alimony, child support, and other
spousal awards, liens, and encumbrances.

H.       Allocations

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest as Allowed herein.

I.       No Postpetition Interest on Claims

         Unless otherwise specifically provided for in an order of the Bankruptcy Court, the Plan, or the Confirmation
Order, or required by applicable bankruptcy law, postpetition interest shall not accrue or be paid on any Claims and
no Holder of a Claim shall be entitled to interest accruing on or after the Petition Date on any such Claim.

J.       Setoffs and Recoupment

         The Debtors or the Reorganized Debtors, as applicable, may, but shall not be required to, set off against or
recoup any payments or distributions to be made pursuant to the Plan in respect of any Claims of any nature whatsoever
that the Debtors or the Reorganized Debtors may have against the claimant, but neither the failure to do so nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtors, the Reorganized Debtors, or
their successors of any such Claim it may have against the Holder of such Claim.



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K.       Claims Paid or Payable by Third Parties

         1.       Claims Paid by Third Parties

          To the extent that the Holder of an Allowed Claim receives payment in full on account of such Claim from a
party that is not a Debtor or Reorganized Debtor, such Claim shall be Disallowed without an objection having to be
Filed and without any further notice to, or action, order, or approval of, the Bankruptcy Court. To the extent a Holder
of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a Debtor or
Reorganized Debtors on account of such Claim, such Holder shall, within 14 days of receipt thereof, repay or return
the distribution to the applicable Debtor or Reorganized Debtor, to the extent the Holder’s total recovery on account
of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of any such
distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall result in the
Holder owing the applicable Debtor annualized interest at the Federal Judgment Rate on such amount owed for each
Business Day after the 14-day grace period specified above until the amount is repaid.

         2.       Claims Payable by Third Parties

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with respect
to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be Filed and
without any further notice to, or action, order, or approval of, the Bankruptcy Court.

         3.       Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Notwithstanding anything herein to the contrary, nothing shall
constitute or be deemed a release, settlement, satisfaction, compromise, or waiver of any Cause of Action that the
Debtors or any other Entity may hold against any other Entity, including insurers under any policies of insurance or
applicable indemnity, nor shall anything contained herein constitute or be deemed a waiver by such insurers of any
defenses, including coverage defenses, held by such insurers.

                                                ARTICLE VII.
                                          THE PLAN ADMINISTRATOR

        The following provisions shall apply only if an Asset Sale Restructuring occurs and a Plan Administrator is
appointed.

A.       The Plan Administrator

          The powers of the Plan Administrator shall include any and all powers and authority to implement the Plan
and to administer and distribute the Distribution Reserve Accounts and wind down the business and affairs of the
Debtors and the Reorganized Debtors, including: (1) liquidating, receiving, holding, investing, supervising, and
protecting the assets of the Reorganized Debtor; (2) taking all steps to execute all instruments and documents necessary
to effectuate the distributions to be made under the Plan from the Distribution Reserve Accounts; (3) making
distributions from the Distribution Reserve Accounts as contemplated under the Plan; (4) establishing and maintaining
bank accounts in the name of the Reorganized Debtors; (5) subject to the terms set forth herein, employing, retaining,
terminating, or replacing professionals to represent it with respect to its responsibilities or otherwise effectuating the
Plan to the extent necessary; (6) paying all reasonable fees, expenses, debts, charges, and liabilities of the Reorganized
Debtors; (7) administering and paying taxes of the Reorganized Debtors, including filing tax returns; (8) representing
the interests of the Reorganized Debtors or the Estates before any taxing authority in all matters, including any action,
suit, proceeding, or audit; and (9) exercising such other powers as may be vested in it pursuant to order of the
Bankruptcy Court or pursuant to the Plan, or as it reasonably deems to be necessary and proper to carry out the
provisions of the Plan.

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         The Plan Administrator may resign at any time upon 30 days’ written notice delivered to the Bankruptcy
Court; provided that such resignation shall only become effective upon the appointment of a permanent or interim
successor Plan Administrator. Upon its appointment, the successor Plan Administrator, without any further act, shall
become fully vested with all of the rights, powers, duties, and obligations of its predecessor and all responsibilities of
the predecessor Plan Administrator relating to the Reorganized Debtors shall be terminated.

         1.       Plan Administrator Rights and Powers

          The Plan Administrator shall retain and have all the rights, powers, and duties necessary to carry out his or
her responsibilities under this Plan, and as otherwise provided in the Confirmation Order. The Plan Administrator
shall be the exclusive trustee of the assets of the Reorganized Debtors for the purposes of 31 U.S.C. § 3713(b) and 26
U.S.C. § 6012(b)(3), as well as the representative of the Estates appointed pursuant to section 1123(b)(3)(B) of the
Bankruptcy Code.

         2.       Retention of Professionals

         The Plan Administrator shall have the right to retain the services of attorneys, accountants, and other
professionals that, in the discretion of the Plan Administrator, are necessary to assist the Plan Administrator in the
performance of his or her duties. The reasonable fees and expenses of such professionals shall be paid by the
Reorganized Debtors from the Wind-Down Reserve upon the monthly submission of statements to the Plan
Administrator. The payment of the reasonable fees and expenses of the Plan Administrator’s retained professionals
shall be made in the ordinary course of business from the Wind-Down Reserve and shall not be subject to the approval
of the Bankruptcy Court.

         3.       Compensation of the Plan Administrator

         The Plan Administrator’s compensation, on a post-Effective Date basis, shall be as described in the Plan
Supplement and paid out of the Wind-Down Reserve. Except as otherwise ordered by the Bankruptcy Court, the fees
and expenses incurred by the Plan Administrator on or after the Effective Date (including taxes) and any reasonable
compensation and expense reimbursement Claims (including attorney fees and expenses) made by the Plan
Administrator in connection with such Plan Administrator’s duties shall be paid without any further notice to, or
action, order, or approval of, the Bankruptcy Court in Cash from the Wind-Down Reserve if such amounts relate to
any actions taken hereunder.

         4.       Plan Administrator Expenses

         All costs, expenses, and obligations incurred by the Plan Administrator in administering this Plan, the
Reorganized Debtor, or in any manner connected, incidental, or related thereto, in effecting distributions from the
Reorganized Debtors thereunder (including the reimbursement of reasonable expenses) shall be a charge against the
assets of the Reorganized Debtors remaining from time to time in the hands of the Plan Administrator. Such costs,
expenses, and obligations shall be paid from the Wind-Down Reserve.

         The Debtors and the Plan Administrator, as applicable, shall not be required to give any bond or surety or
other security for the performance of its duties unless otherwise ordered by the Bankruptcy Court. However, in the
event that the Plan Administrator is so ordered after the Effective Date, all costs and expenses of procuring any such
bond or surety shall be paid for with Cash from the Wind-Down Reserve.

B.       Wind-Down

         On and after the Effective Date, the Plan Administrator will be authorized to implement the Plan and any
applicable orders of the Bankruptcy Court, and the Plan Administrator shall have the power and authority to take any
action necessary to wind down and dissolve the Debtors’ Estates.

        As soon as practicable after the Effective Date, the Plan Administrator shall: (1) cause the Debtors and the
Reorganized Debtors, as applicable, to comply with, and abide by, the terms of the Purchase Agreements and any

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other documents contemplated thereby; (2) to the extent applicable, file a certificate of dissolution or equivalent
document, together with all other necessary corporate and company documents, to effect the dissolution of the Debtors
under the applicable laws of their state of incorporation or formation (as applicable); and (3) take such other actions
as the Plan Administrator may determine to be necessary or desirable to carry out the purposes of the Plan.
Any certificate of dissolution or equivalent document may be executed by the Plan Administrator without need for
any action or approval by the shareholders or board of directors or managers of any Debtor. From and after the
Effective Date, except with respect to the Reorganized Debtors as set forth herein, the Debtors (1) for all purposes
shall be deemed to have withdrawn their business operations from any state in which the Debtors were previously
conducting, or are registered or licensed to conduct, their business operations, and shall not be required to file any
document, pay any sum, or take any other action in order to effectuate such withdrawal, (2) shall be deemed to have
canceled pursuant to this Plan all Interests, and (3) shall not be liable in any manner to any taxing authority for
franchise, business, license, or similar taxes accruing on or after the Effective Date. Notwithstanding the Debtors’
dissolution, the Debtors shall be deemed to remain intact solely with respect to the preparation, filing, review, and
resolution of applications for Professional Fee Claims.

         The filing of the final monthly report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports shall be the responsibility of the Plan Administrator.

C.       Exculpation, Indemnification, Insurance and Liability Limitation

          The Plan Administrator and all professionals retained by the Plan Administrator, each in their capacities as
such, shall be deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all
respects by the Reorganized Debtors. The Plan Administrator may obtain, at the expense of the Reorganized Debtors
and with funds from the Wind-Down Reserve, commercially reasonable liability or other appropriate insurance with
respect to the indemnification obligations of the Reorganized Debtors. The Plan Administrator may rely upon written
information previously generated by the Debtors.

         Notwithstanding anything to the contrary contained herein, the Plan Administrator in its capacity as such,
shall have no liability whatsoever to any party for the liabilities and/or obligations, however created, whether direct
or indirect, in tort, contract, or otherwise, of the Debtors.

D.       Tax Returns

         After the Effective Date, the Plan Administrator shall complete and file all final or otherwise required federal,
state, and local tax returns for each of the Debtors, and, pursuant to section 505(b) of the Bankruptcy Code, may
request an expedited determination of any unpaid tax liability of such Debtor or its Estate for any tax incurred during
the administration of such Debtor’s Chapter 11 Case, as determined under applicable tax laws.

E.       Dissolution of the Reorganized Debtors

         Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all distributions
having been made and completion of all its duties under the Plan and entry of a final decree closing the last of the
Chapter 11 Cases, the Reorganized Debtors shall be deemed to be dissolved without any further action by the
Reorganized Debtors, including the filing of any documents with the secretary of state for the state in which the
Reorganized Debtors is formed or any other jurisdiction. The Plan Administrator, however, shall have authority to
take all necessary actions to dissolve the Reorganized Debtors in and withdraw the Reorganized Debtors from
applicable state(s).

                                         ARTICLE VIII.
                       RESERVES ADMINISTERED BY THE PLAN ADMINISTRATOR

        The following provisions shall apply only if an Asset Sale Restructuring occurs and a Plan Administrator is
appointed.




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A.       Establishment of Reserve Accounts

         The Plan Administrator shall establish each of the Distribution Reserve Accounts (which may be affected by
either establishing a segregated account or establishing book entry accounts, in the sole discretion of the Plan
Administrator).

B.       Undeliverable Distribution Reserve

         1.       Deposits

         If a distribution to any Holder of an Allowed Claim is returned to the Plan Administrator as undeliverable or
is otherwise unclaimed, such distribution shall be deposited in a segregated, interest-bearing account, designated as
an “Undeliverable Distribution Reserve,” for the benefit of such Holder until such time as such distribution becomes
deliverable, is claimed or is deemed to have been forfeited in accordance with Article I.A.1 of the Plan.

         2.       Forfeiture

         Any Holder of an Allowed Claim that does not assert a Claim pursuant to the Plan for an undeliverable or
unclaimed distribution within three months after the first distribution is made to such Holder shall be deemed to have
forfeited its claim for such undeliverable or unclaimed distribution and shall be forever barred and enjoined from
asserting any such claim for the undeliverable or unclaimed distribution against any Debtor, any Estate, the Plan
Administrator, the Reorganized Debtors, or their respective properties or assets. In such cases, any Cash or other
property held by the Reorganized Debtors in the Undeliverable Distribution Reserve for distribution on account of
such claims for undeliverable or unclaimed distributions, including the interest that has accrued on such undeliverable
or unclaimed distribution while in the Undeliverable Distribution Reserve, shall become the property of the
Reorganized Debtors, notwithstanding any federal or state escheat laws to the contrary, and shall promptly be
transferred to the General Account to be distributed according to the priority set forth in Article VIII.G without any
further action or order of the Court; provided that any undeliverable or unclaimed distribution on account of an
Allowed General Unsecured Claim shall be transferred to the GUC Asset Sale Reserve.

         3.       Disclaimer

           The Plan Administrator and his or her respective agents and attorneys are under no duty to take any action to
either (i) attempt to locate any Claim Holder or (ii) obtain an executed Internal Revenue Service Form W-9 from any
Claim Holder; provided that, in his or her sole discretion, the Plan Administrator may periodically publish notice of
unclaimed distributions.

         4.       Distribution from Reserve

          Within 15 Business Days after the Holder of an Allowed Claim satisfies the requirements of the Plan, such
that the distribution(s) attributable to its Claim is no longer an undeliverable or unclaimed distribution (provided that
satisfaction occurs within the time limits set forth in Article I.A.1 of the Plan), the Plan Administrator shall distribute
out of the Undeliverable Distribution Reserve the amount of the undeliverable or unclaimed distribution attributable
to such Claim, including the interest that has accrued on such undeliverable or unclaimed distribution while in the
Undeliverable Distribution Reserve, to the General Account.

C.       Priority Claims Reserve

         On the Effective Date, the Plan Administrator shall establish the Priority Claims Reserve by depositing Cash
in the amount of the Priority Claims Reserve Amount into the Priority Claims Reserve. The Priority Claims Reserve
Amount shall be used to pay Holders of all Allowed Priority Claims and Allowed Administrative Claims (excluding
Professional Fee Claims and DIP Claims) their respective Pro Rata share of the Priority Claims Reserve, to the extent
that such Priority Claims and Administrative Claims have not been paid in full on or before the Effective Date. If all
or any portion of a Priority Claim or Administrative Claim shall become a Disallowed Claim, then the amount on
deposit in the Priority Claims Reserve attributable to such surplus or such Disallowed Claim, including the interest

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that has accrued on said amount while on deposit in the Priority Claims Reserve, shall remain in the Priority Claims
Reserve to the extent that the Plan Administrator determines necessary to ensure that the Cash remaining in the Priority
Claims Reserve is sufficient to ensure that all Allowed Priority Claims and Allowed Administrative Claims will be
paid in accordance with the Plan, and shall otherwise promptly be transferred to the General Account to be distributed
in accordance with the Plan without any further action or order of the Court. Any amounts remaining in the Priority
Claims Reserve after payment of all Allowed Priority Claims and Allowed Administrative Claims (excluding
Professional Fee Claims and DIP Claims) shall promptly be transferred to the General Account and shall be distributed
according to the priority set forth in Article VIII.G without any further action or order of the Court.

D.       Wind-Down Reserve

          On the Effective Date, the Plan Administrator shall establish the Wind-Down Reserve by depositing Cash in
the amount of the Wind-Down Amount into the Wind-Down Reserve. The Wind-Down Reserve shall be used by the
Plan Administrator solely to satisfy the expenses of the Reorganized Debtors and the Plan Administrator as set forth
in the Plan; provided that all costs and expenses associated with the winding up of the Reorganized Debtors and the
storage of records and documents shall constitute expenses of the Reorganized Debtors and shall be paid from the
Wind-Down Reserve. In no event shall the Plan Administrator be required or permitted to use its personal funds or
assets for such purposes. Any amounts remaining in the Wind-Down Reserve after payment of all expenses of the
Reorganized Debtors and the Plan Administrator shall promptly be transferred to the General Account and shall be
distributed according to the priority set forth in Article VIII.G without any further action or order of the Court.

E.       Other Secured Claims Reserve

          On the Effective Date, the Plan Administrator shall establish the Other Secured Claims Reserve by depositing
Cash in the amount of the Other Secured Claims Reserve Amount into the Other Secured Claims Reserve. The Other
Secured Claims Reserve Amount shall be used to pay Allowed Other Secured Claims. If all or any portion of an Other
Secured Claim shall become a Disallowed Claim, then the amount on deposit in the Other Secured Claims Reserve
attributable to such surplus or such Disallowed Claim, including the interest that has accrued on said amount while on
deposit in the Other Secured Claims Reserve, shall remain in the Other Secured Claims Reserve to the extent that the
Plan Administrator determines necessary to ensure that the Cash remaining in the Other Secured Claims Reserve is
sufficient to ensure that all Allowed Other Secured Claims will be paid in accordance with the Plan, and shall otherwise
promptly be transferred to the General Account to be distributed in accordance with the Plan without any further action
or order of the Court. Any amounts remaining in the Other Secured Claims Reserve after satisfaction of all Allowed
Other Secured Claims shall promptly be transferred to the General Account and shall be distributed according to the
priority set forth in Article VIII.G without any further action or order of the Court.

F.       GUC Asset Sale Reserve

         On the Effective Date, the Plan Administrator shall establish and thereafter maintain the GUC Asset Sale
Reserve in a separate, segregated account by depositing the Distribution Proceeds allocated to General Unsecured
Claims, pursuant to the priority set forth in Article VIII.G, into the GUC Asset Sale Reserve. The Distribution
Proceeds shall be used to pay Allowed General Unsecured Claims on a Pro Rata basis. If all or any portion of a
General Unsecured Claim shall become a Disallowed Claim, then the amount on deposit in the GUC Asset Sale
Reserve attributable to such surplus or such Disallowed Claim, including the interest that has accrued on said amount
while on deposit in the GUC Asset Sale Reserve, shall remain in the GUC Asset Sale Reserve and be distributed to
holders of Allowed General Unsecured Claims in accordance with the Plan.

         Notwithstanding anything to the contrary herein, neither the Plan Administrator, the Reorganized Debtors,
nor any other party in interest shall be obligated to fund the GUC Asset Sale Reserve in an aggregate amount in excess
of the Distribution Proceeds.

G.       Distribution Proceeds/Priority Waterfall

       After the funding of the Priority Claims Reserve, the Other Secured Claims Reserve, the Professional Fee
Escrow Account, and the Wind-Down Reserve, the Plan Administrator shall deliver to the DIP Agent, on a periodic

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basis, all Distribution Proceeds available for distribution from time to time to the Holders of Allowed DIP Claims
pursuant to Article II.A hereof.

         After the DIP Claims have been paid in full, the Plan Administrator shall deliver to the Credit Agreement
Primary Agent, on a periodic basis, all Distribution Proceeds available for distribution from time to time to the Holders
of Allowed Term Loan Secured Claims, pursuant to Error! Reference source not found. hereof to be paid on account
of, and pursuant to the priority set forth in the Credit Agreement, up to the amount of the Allowed Term Loan B
Claims.

          After the Term Loan Secured Claims have been paid pursuant to the priority set forth in the Credit Agreement,
up to the amount of the Allowed Term Loan B Claims, the Distribution Proceeds shall be allocated and paid to the
applicable Holders of Claims until paid in full from time to time in the following priority (in each case on a Pro Rata
basis): (i) first, on account of all Allowed Priority Claims and Allowed Administrative Claims; (ii) second, on account
of all remaining Allowed Term Loan Secured Claims, and (iii) third, on account of any Allowed General Unsecured
Claims.

H.       The General Account and Distribution Reserve Account Adjustments

          Beginning on the first anniversary of the Effective Date or at such other times as the Plan Administrator shall
determine as appropriate, and thereafter, on each anniversary of the Effective Date, the Plan Administrator shall
determine the amount of Cash required to adequately maintain each of the Distribution Reserve Accounts (other than
the GUC Asset Sale Reserve). Other than with respect to amounts held in the GUC Asset Sale Reserve, if after making
and giving effect to any determination referred to in the immediately preceding sentence, the Plan Administrator
determines that any Distribution Reserve Account (i) contains Cash in an amount in excess of the amount then required
to adequately maintain such Distribution Reserve Account, then at any such time the Plan Administrator shall transfer
such surplus Cash to the General Account to be used or distributed according to the priority set forth in this Article
VIII.H, or (ii) does not contain Cash in an amount sufficient to adequately maintain such Distribution Reserve Account
(other than the GUC Asset Sale Reserve), then at any such time the Plan Administrator shall transfer Cash from the
General Account, to the extent Cash is available in the General Account until the deficit in such Distribution Reserve
Account is eliminated. Any funds in the General Account not needed to eliminate a Distribution Reserve Account
deficit shall be allocated and paid in the following priority (in each case on a Pro Rata basis): (v) first, on account of
the DIP Claims that have not yet been paid in full; (w) second, on account of the Allowed Term Loan Secured Claims,
and pursuant to the priority set forth in the Credit Agreement, up to the amount of the Allowed Term Loan B Claims;
(x) third, on account of all Allowed Priority Claims and Allowed Administrative Claims; (y) fourth, on account of any
remaining Allowed Term Loan Secured Claims; and (z) fifth, on account of all Allowed General Unsecured Claims.

                                            ARTICLE IX.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Allowance of Claims

         After the Effective Date, each of the Reorganized Debtors or the Plan Administrator, as applicable, shall have
and retain any and all rights and defenses the applicable Debtor had with respect to any Claim immediately before the
Effective Date. Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases before the
Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim unless and until such
Claim is deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final Order,
including the Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases allowing such Claim.

B.       Claims Administration Responsibilities

        Except as otherwise specifically provided in the Plan and notwithstanding any requirements that may be
imposed pursuant to Bankruptcy Rule 9019, after the Effective Date, the Reorganized Debtors or the Plan
Administrator, as applicable, shall have the sole authority to File and prosecute objections to Claims, and the
Reorganized Debtors shall have the sole authority to: (1) settle, compromise, withdraw, litigate to judgment, or

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otherwise resolve objections to any and all Claims, regardless of whether such Claims are in a Class or otherwise;
(2) settle, compromise, or resolve any Disputed Claim without any further notice to or action, order, or approval by
the Bankruptcy Court; and (3) administer and adjust the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court. On and after the
Effective Date, the Reorganized Debtors or the Plan Administrator, as applicable, will use commercially reasonable
efforts to advance the claims resolution process through estimation or otherwise.

C.       Estimation of Claims

         Before, on, or after the Effective Date, the Debtors, the Reorganized Debtors, or the Plan Administrator, as
applicable, may (but are not required to) at any time request that the Bankruptcy Court estimate any Claim pursuant
to applicable law, including pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether
any party previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such objection,
and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any such Claim,
including during the litigation of any objection to any Claim or during the pendency of any appeal relating to such
objection. Notwithstanding any provision to the contrary in the Plan, a Claim that has been expunged from the Claims
Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated
at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates
any Claim, such estimated amount shall constitute a maximum limitation on such Claim for all purposes under the
Plan (including for purposes of distributions and discharge) and may be used as evidence in any supplemental
proceedings, and the Debtors, Reorganized Debtors, or the Plan Administrator, as applicable, may elect to pursue any
supplemental proceedings to object to any ultimate distribution on such Claim. Notwithstanding section 502(j) of the
Bankruptcy Code, in no event shall any Holder of a Claim that has been estimated pursuant to section 502(c) of the
Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless such Holder has Filed a
motion requesting the right to seek such reconsideration on or before seven days after the date on which such Claim
is estimated. Each of the foregoing Claims and objection, estimation, and resolution procedures are cumulative and
not exclusive of one another. Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.

D.       Claims Reserve

          If the Equitization Restructuring occurs, on the Effective Date, the Reorganized Debtors shall establish the
GUC Equitization Reserve to be administered by the Reorganized Debtors. As soon as practicable after the Proofs of
Claims with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases have been filed,
the Reorganized Debtors shall make a Pro Rata distribution to all Allowed General Unsecured Claims from the GUC
Equitization Reserve using the amount of the total amount of Allowed and Disputed General Unsecured Claims as the
denominator in calculating such Pro Rata distribution. The Reorganized Debtors shall make one or more additional
distributions to General Unsecured Claims, in their discretion, until all General Unsecured Claims have been resolved.
The Reorganized Debtors shall hold Cash in the GUC Equitization Reserve in the same Pro Rata share in trust for the
benefit of the Holders of Disputed General Unsecured Claims. Once all General Unsecured Claims have been
resolved, the Reorganized Debtors shall make a final distribution in order to distribute the remaining Cash in the GUC
Equitization Reserve Pro Rata to all Allowed General Unsecured Claims using the total amount of Allowed General
Unsecured Claims as the denominator. The Reorganized Debtors shall distribute all such amounts (net of any
expenses, including any taxes relating thereto but excluding any legal fees or time of employees of the Reorganized
Debtors associated with the reconciliation of such claims), as provided herein, as such Claims or Interests are resolved
by a Final Order or agreed to by settlement, and such amounts will be distributable on account of such Claims as such
amounts would have been distributable had such Claims been Allowed Claims as of the Effective Date under Article
III of the Plan solely to the extent of the amounts available in the GUC Equitization Reserve.

E.       Adjustment to Claims Without Objection

        Any Claim that has been paid or satisfied, or any Claim that has been amended or superseded, may be adjusted
or expunged on the Claims Register by the Debtors, the Reorganized Debtors, or the Plan Administrator, as applicable,
without an objection having to be Filed and without any further notice to, or action, order, or approval of, the
Bankruptcy Court.


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F.       Time to File Objections to Claims

         Any objections to Claims shall be Filed on or before the Claims Objection Bar Date.

G.       Disallowance of Claims

         Any Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code, shall be deemed Disallowed pursuant to section 502(d) of the Bankruptcy Code,
and Holders of such Claims may not receive any distributions on account of such Claims until such time as such
Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect thereto has been
entered and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
Reorganized Debtors or the Plan Administrator, as applicable. All Proofs of Claim Filed on account of an
indemnification obligation shall be deemed satisfied and expunged from the Claims Register as of the Effective Date
to the extent such indemnification obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to
the Plan, without any further notice to, or action, order, or approval of, the Bankruptcy Court.

         Except as otherwise provided herein or as agreed to by the Reorganized Debtors or the Plan
Administrator, as applicable, any and all Proofs of Claim Filed after the Claims Bar Date shall be deemed
Disallowed and expunged as of the Effective Date without any further notice to, or action, order, or approval
of, the Bankruptcy Court, and Holders of such Claims may not receive any distributions on account of such
Claims, unless such late Proof of Claim has been deemed timely Filed by a Final Order.

H.       Amendments to Claims

        On or after the Effective Date, a Claim may not be Filed or amended without the prior authorization of the
Bankruptcy Court, the Reorganized Debtors, or the Plan Administrator, as applicable, and any such new or amended
Claim Filed shall be deemed Disallowed in full and expunged without any further notice to, or action, order, or
approval of, the Bankruptcy Court to the maximum extent provided by applicable law.

I.       No Distributions Pending Allowance

        If an objection to a Claim or portion thereof is Filed, no payment or distribution provided under the Plan shall
be made on account of such Claim or portion thereof unless and until such Disputed Claim becomes an Allowed
Claim, unless otherwise determined by the Reorganized Debtors or the Plan Administrator, as applicable.

J.       Distributions After Allowance

          To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions shall be made to the
Holder of such Allowed Claim in accordance with the provisions of the Plan. As soon as reasonably practicable after
the date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the
Reorganized Debtors shall provide to the Holder of such Claim the distribution to which such Holder is entitled under
the Plan as of the Effective Date, less any previous distribution (if any) that was made on account of the undisputed
portion of such Claim, without any interest, dividends, or accruals to be paid on account of such Claim unless required
under applicable bankruptcy law or as otherwise provided herein.




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                                           ARTICLE X.
                    SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS3

A.        Compromise and Settlement of Claims, Interests, and Controversies

          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good-faith
compromise and settlement of all Claims, Interests, and controversies relating to the contractual, legal, and
subordination rights that a Holder of a Claim or Interest may have, or any distribution to be made on account of such
Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of the compromise or settlement of all Claims, Interests, and controversies, as well as a finding by the
Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors, their Estates, and Holders
of Claims and Interests and is fair, equitable, and reasonable. In accordance with the provisions of the Plan, pursuant
to Bankruptcy Rule 9019, without any further notice to or action, order, or approval of the Bankruptcy Court, after the
Effective Date, the Reorganized Debtors or the Plan Administrator, as applicable, may compromise and settle any
Claims and Causes of Action against other Entities.

B.        Discharge of Claims and Termination of Interests

           Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan or in any contract, instrument, or other agreement or document created pursuant to the Plan, the distributions,
rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release, effective
as of the Effective Date, of Claims (including any Intercompany Claims resolved or compromised after the Effective
Date by the Reorganized Debtors), Interests, and Causes of Action against any Debtor of any nature whatsoever,
including any interest accrued on Claims from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their assets or properties,
regardless of whether any property shall have been distributed or retained pursuant to the Plan on account of such
Claims and Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any
liability (including withdrawal liability) to the extent such Claims or Causes of Action accrued before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
whether or not: (1) a Proof of Claim based upon such debt or right is filed or deemed filed pursuant to section 501 of
the Bankruptcy Code; (2) a Claim based upon such debt or right is Allowed pursuant to section 502 of the Bankruptcy
Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default or “event of default” by the
Debtors or their Affiliates with respect to any Claim that existed immediately before or on account of the filing of the
Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective Date. Unless expressly
provided in the Plan, the Confirmation Order shall be a judicial determination of the discharge of all Claims and
Interests subject to the Effective Date occurring.

C.        Term of Injunctions or Stays

         Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order),
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

D.        Release of Liens

       Except as otherwise specifically provided in the Plan, the Exit Facility Documents, or in any contract,
instrument, release, or other agreement or document created pursuant to the Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens,

3    The Special Committee, with the assistance of its counsel and advisors, is currently undertaking an investigation into Estate claims and Causes
     of Action. The Debtors reserve all rights to modify the Plan, including the release provisions of the Plan, and the Debtors reserve all rights
     and claims with respect thereto.


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pledges, or other security interests against any property of the Estates shall be fully released and discharged,
and all of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests shall revert to the Reorganized Debtors and their successors and assigns, in each case, without
any further approval or order of the Bankruptcy Court and without any action or Filing being required to be
made by the Debtors or the Reorganized Debtors, as applicable. The DIP Agent, the Credit Agreement Primary
Agent, and the Term Loan B-1 Agent shall execute and deliver all documents reasonably requested by the
Reorganized Debtors to evidence the release of such mortgages, deeds of trust, Liens, pledges, and other
security interests and shall authorize the Reorganized Debtors to file UCC-3 termination statements (to the
extent applicable) with respect thereto.

E.      Debtor Release

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after
the Effective Date, each Released Party is deemed released and discharged by the Debtors, the Reorganized
Debtors, Plan Administrator, and their Estates from any and all Causes of Action, including any derivative
claims asserted on behalf of the Debtors, that the Debtors, the Reorganized Debtors, Plan Administrator, or
their Estates would have been legally entitled to assert in their own right (whether individually or collectively)
or on behalf of the Holder of any Claim or Interest, or that any Holder of any Claim or Interest could have
asserted on behalf of the Debtors, based on or relating to, or in any manner arising from, in whole or in part:

        (a)      the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions,
                 the formulation, preparation, dissemination, negotiation, or filing of the Restructuring
                 Documents;

        (b)      any Restructuring Document, contract, instrument, release, or other agreement or document
                 (including providing any legal opinion requested by any Entity regarding any transaction,
                 contract, instrument, document, or other agreement contemplated by the Plan or the reliance
                 by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion)
                 created or entered into in connection with the Disclosure Statement or the Plan;

        (c)      the Chapter 11 Cases, the Disclosure Statement, the Plan, the DIP Agreement, the Asset
                 Purchase Agreement, the DIP Facilities, the filing of the Chapter 11 Cases, the pursuit of
                 Confirmation, the pursuit of Consummation, the administration and implementation of the
                 Plan, including the issuance or distribution of Securities (including the New Shopko Interests)
                 pursuant to the Plan, or the distribution of property under the Plan or any other related
                 agreement; or

        (d)      the business or contractual arrangements between any Debtor and any Released Party, and
                 any other act or omission, transaction, agreement, event, or other occurrence taking place on
                 or before the Effective Date relating to any of the foregoing.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Document, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases set forth above, which includes by reference each of the related provisions
and definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding that the releases
set forth above are: (1) in exchange for the good and valuable consideration provided by the Released Parties;
(2) a good faith settlement and compromise of the claims released by the releases set forth above; (3) in the best
interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given
and made after reasonable investigation by the Debtors and after notice and opportunity for hearing; and (6) a
bar to any of the Debtors asserting any claim released by the releases set forth above against any of the Released
Parties.

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F.      Release by Holders of Claims or Interests

         As of the Effective Date, each Releasing Party is deemed to have released and discharged each Debtor
or Reorganized Debtor, as applicable, and other Released Party from any and all Causes of Action, including
any derivative claims asserted on behalf of the Debtors, that such Entity would have been legally entitled to
assert (whether individually or collectively), based on or relating to, or in any manner arising from, in whole
or in part:

        (a)      the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions,
                 the formulation, preparation, dissemination, negotiation, or filing of the other Restructuring
                 Documents;

        (b)      any Restructuring Document, contract, instrument, release, or other agreement or document
                 (including providing any legal opinion requested by any Entity regarding any transaction,
                 contract, instrument, document, or other agreement contemplated by the Plan or the reliance
                 by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion)
                 created or entered into in connection with the Disclosure Statement or the Plan;

        (c)      the Chapter 11 Cases, the Disclosure Statement, the Plan, the DIP Agreement, the DIP
                 Facilities, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
                 Consummation, the administration and implementation of the Plan, including the issuance or
                 distribution of Securities pursuant to the Plan, or the distribution of property under the Plan
                 or any other related agreement; or

        (d)      the business or contractual arrangements between any Debtor and any Released Party, and
                 any other act or omission, transaction, agreement, event, or other occurrence taking place on
                 or before the Effective Date relating to any of the foregoing.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Document, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the third-party release set forth above, which includes by reference each of the related
provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding that
the third-party release set forth above is: (1) in exchange for the good and valuable consideration provided by
the Released Parties; (2) a good faith settlement and compromise of the claims released by the Releasing Parties;
(3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and
reasonable; (5) given and made after notice and opportunity for hearing; and (6) a bar to any of the Releasing
Parties asserting any Claim released by the third-party release set forth above against any of the Released
Parties.


G.      Exculpation

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim related to
any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the Disclosure
Statement, the Plan, the DIP Agreement, the Asset Purchase Agreement, the DIP Facilities, the Exit Facility
Credit Agreement, the Exit Facility Documents, or any Restructuring Document, contract, instrument, release
or other agreement or document (including providing any legal opinion requested by any Entity regarding any
transaction, contract, instrument, document, or other agreement contemplated by the Plan or the reliance by
any Exculpated Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered
into in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of

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Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
issuance of Securities pursuant to the Plan, or the distribution of property under the Plan or any other related
agreement, except for claims related to any act or omission that is determined in a final order to have
constituted actual fraud, willful misconduct, or gross negligence, but in all respects such Entities shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and responsibilities pursuant
to the Plan. The Exculpated Parties have, and upon closing of the Chapter 11 Cases or the Effective Date shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of, and distribution of, consideration pursuant to the Plan and, therefore, are not, and on account
of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or regulation
governing the solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the
Plan.

H.       Injunction

         Except with respect to the obligations arising under the Plan or the Confirmation Order, and except
as otherwise expressly provided in the Plan or the Confirmation Order, all Entities that held, hold, or may hold
claims or interests that have been released, discharged, or exculpated pursuant to the Plan, are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against, as applicable, the
Debtors or Reorganized Debtors, or the other Released Parties: (1) commencing or continuing in any manner
any action or other proceeding of any kind on account of or in connection with or with respect to any such
claims or interests; (2) enforcing, attaching, collecting, or recovering by any manner or means any judgment,
award, decree, or order against such Entities on account of or in connection with or with respect to any such
claims or interests; (3) creating, perfecting, or enforcing any Lien or encumbrance of any kind against such
Entities or the property of such Entities on account of or in connection with or with respect to any such claims
or interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind against any obligation due
from such Entities or against the property of such Entities on account of or in connection with or with respect
to any such claims or interests unless such Entity has timely asserted such setoff right in a document filed with
the Bankruptcy Court explicitly preserving such setoff, and notwithstanding an indication of a claim or interest
or otherwise that such Entity asserts, has, or intends to preserve any right of setoff pursuant to applicable law
or otherwise; and (5) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any such claims or interests released or settled pursuant to
the Plan.

I.       Protection Against Discriminatory Treatment

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because the Debtors have been debtors under chapter 11 of the
Bankruptcy Code, may have been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter
11 Cases), or have not paid a debt that is dischargeable in the Chapter 11 Cases.

J.       Recoupment

         In no event shall any Holder of a Claim be entitled to recoup against such Claim any claim, right, or Cause
of Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder actually has provided notice
of such recoupment in writing to the Debtors on or before the Confirmation Date, notwithstanding any indication in
any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

K.       Subordination Rights

        Any distributions under the Plan shall be received and retained free from any obligations to hold or transfer
the same to any other Holder and shall not be subject to levy, garnishment, attachment, or other legal process by any
Holder by reason of claimed contractual subordination rights. Any such subordination rights shall be waived, and the
Confirmation Order shall constitute an injunction enjoining any Entity from enforcing or attempting to enforce any
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contractual, legal, or equitable subordination rights to property distributed under the Plan, in each case other than as
provided in the Plan.

                                            ARTICLE XI.
                              CONDITIONS PRECEDENT TO CONFIRMATION
                                 AND CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date

         It shall be a condition to Consummation of the Plan that the following conditions shall have been satisfied
(or waived pursuant to the provisions of Article XI.B hereof):

          1.       if the Equitization Restructuring occurs, all conditions precedent to the effectiveness of the Exit
Facilities shall have been satisfied or duly waived;

        2.     if the Asset Sale Restructuring occurs, all conditions precedent to the effectiveness of the Asset
Purchase Agreement shall have been satisfied or duly waived;

         3.       the Confirmation Order shall have been duly entered and in full force and effect;

         4.       the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
documents that are necessary to implement and effectuate the Plan and each of the other transactions contemplated by
the Restructuring;

         5.       all Allowed Professional Fee Claims approved by the Bankruptcy Court shall have been paid in full
or amounts sufficient to pay such Allowed Professional Fee Claims after the Effective Date shall have been placed in
the Professional Fee Escrow Account pending approval of the Professional Fee Claims by the Bankruptcy Court; and

         6.       the Debtors shall have implemented the Restructuring Transactions in a manner consistent in all
material respects with the Plan.

B.       Waiver of Conditions

         The conditions to Confirmation of the Plan and to the Effective Date of the Plan set forth in this Article XI
may be waived only by consent of the Debtors without notice, leave, or order of the Bankruptcy Court or any formal
action other than proceedings to confirm or consummate the Plan.

C.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

D.       Effect of Nonoccurrence of Conditions to the Effective Date

         If the Effective Date does not occur, the Plan shall be null and void in all respects and nothing contained in
the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any Claims or Interests; (2) prejudice
in any manner the rights of the Debtors, any Holders of a Claim or Interest, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any Holders, or any other Entity in any respect.




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                                       ARTICLE XII.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments

         Subject to the limitations contained in the Plan, the Debtors reserve the right to modify the Plan and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
Subject to certain restrictions and requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule
3019 and those restrictions on modifications set forth in the Plan, the Debtors expressly reserve their rights to alter,
amend, or modify materially the Plan, one or more times, after Confirmation, and, to the extent necessary, may initiate
proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or
reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such matters as may
be necessary to carry out the purposes and intent of the Plan.

B.       Effect of Confirmation on Modifications

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan occurring after
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of the Plan

           The Debtors reserve the right to revoke or withdraw the Plan before the Confirmation Date. If the Debtors
revoke or withdraw the Plan, or if Confirmation and Consummation does not occur, then: (1) the Plan shall be null
and void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an
amount certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts
or Unexpired Leases effected by the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (i) constitute a waiver or release of any Claims or
Interests; (ii) prejudice in any manner the rights of the Debtors or any other Entity, including the Holders of Claims;
or (iii) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors or any other Entity.

                                              ARTICLE XIII.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain jurisdiction over the Chapter 11 Cases and all matters arising out
of or related to the Chapter 11 Cases and the Plan, including jurisdiction to:

        1.        allow, disallow, determine, liquidate, classify, estimate, or establish the priority, Secured or
unsecured status, or amount of any Claim, including the resolution of any request for payment of any Administrative
Claim and the resolution of any and all objections to the Secured or unsecured status, priority, amount, or allowance
of Claims;

         2.        decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals;

          3.       resolve any matters related to: (a) the assumption or rejection of any Executory Contract or
Unexpired Lease and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Claims
related to the rejection of an Executory Contract or Unexpired Lease, Cure Claims pursuant to section 365 of the
Bankruptcy Code, or any other matter related to such Executory Contract or Unexpired Lease; (b) the Reorganized
Debtors amending, modifying, or supplementing, after the Effective Date, pursuant to Article V hereof, any Executory
Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases to be assumed and assigned
or rejected or otherwise; and (c) any dispute regarding whether a contract or lease is or was executory or expired;




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         4.       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the provisions
of the Plan;

        5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
Date;

         6.       adjudicate, decide, or resolve any and all matters related to Causes of Action;

        7.      adjudicate, decide, or resolve any and all matters related to sections 1141 and 1145 of the
Bankruptcy Code;

       8.       enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan or the Disclosure Statement;

        9.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
Bankruptcy Code;

         10.   resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection
with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection
with the Plan;

        11.        issue injunctions, enter and implement other orders, or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;

         12.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the settlements,
compromises, discharges, releases, injunctions, exculpations, and other provisions contained in Article VIII hereof
and enter such orders as may be necessary or appropriate to implement or enforce such releases, injunctions, and other
provisions;

          13.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment
or return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for amounts
not timely repaid pursuant to Article VI.K.1 hereof;

         14.     enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;

        15.      determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or the Plan Supplement;

         16.      adjudicate any and all disputes arising from or relating to distributions under the Plan or any
transactions contemplated therein;

         17.      consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        18.     determine requests for the payment of Claims entitled to priority pursuant to section 507 of the
Bankruptcy Code;

         19.      hear and determine all disputes involving the Exit Facilities;

         20.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;


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          21.       hear and determine all disputes involving the existence, nature, or scope of the release provisions
set forth in the Plan, including any dispute relating to any liability arising out of the termination of employment or the
termination of any employee or retiree benefit program, regardless of whether such termination occurred before or
after the Effective Date;

         22.       enforce all orders previously entered by the Bankruptcy Court in the Chapter 11 Cases;

         23.       hear any other matter not inconsistent with the Bankruptcy Code;

         24.       enter an order closing the Chapter 11 Cases; and

         25.       enforce the injunction, release, and exculpation provisions provided in Article VIII hereof.

                                                ARTICLE XIV.
                                          MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect

         Subject to Article XI.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan, the final versions of the documents contained in the
Plan Supplement, and the Confirmation Order, shall be immediately effective and enforceable and deemed binding
upon the Debtors or Reorganized Debtors, as applicable, and any and all Holders of Claims or Interests (regardless of
whether such Claims or Interests are deemed to have accepted or rejected the Plan), all Entities that are parties to or
are subject to the settlements, compromises, releases, and injunctions described in the Plan, each Entity acquiring
property under the Plan or the Confirmation Order, and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases with the Debtors. All Claims and debts shall be as fixed, adjusted, or compromised, as applicable,
pursuant to the Plan regardless of whether any Holder of a Claim or debt has voted on the Plan.

B.       Additional Documents

          On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and other
documents as may be necessary or advisable to effectuate and further evidence the terms and conditions of the Plan.
The Debtors or the Reorganized Debtors, as applicable, all Holders of Claims and Interests receiving distributions
pursuant to the Plan, and all other parties in interest shall, from time to time, prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions and
intent of the Plan.

C.       Dissolution of the Creditors’ Committee

         On the Effective Date, the Creditors’ Committee shall dissolve automatically and the members thereof shall
be released and discharged from all rights, duties, responsibilities, and liabilities arising from, or related to, the Chapter
11 Cases and under the Bankruptcy Code, except for the limited purpose of prosecuting requests for payment of
Professional Fee Claims for services and reimbursement of expenses incurred prior to the Effective Date by the
Creditors’ Committee and its Professionals. The Reorganized Debtors shall no longer be responsible for paying any
fees or expenses incurred by the members of or advisors to the Creditors’ Committee after the Effective Date.

D.       Reservation of Rights

         Before the Effective Date, neither the Plan, any statement or provision contained in the Plan, nor any action
taken or not taken by any Debtor with respect to the Plan, the Disclosure Statement, the Confirmation Order, or the
Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect to
any Claims or Interests.




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E.       Successors and Assigns

          The rights, benefits, and obligations of any Entity named or referred to in the Plan or the Confirmation Order
shall be binding on, and shall inure to, the benefit of any heir, executor, administrator, successor, assign, affiliate,
officer, director, manager, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

F.       Service of Documents

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

         the Debtors:       Specialty Retail Shops Holding Corp.
                            700 Pilgrim Way
                            Green Bay, Wisconsin 54304
                            Attn.: Russ Steinhorst

                            with copies to:

                            Kirkland & Ellis LLP
                            300 North LaSalle
                            Chicago, Illinois 60654
                            Attn.: Patrick J. Nash, Jr., P.C. and Travis Bayer

                            -and-

                            Kirkland & Ellis LLP
                            601 Lexington Avenue
                            New York, NY 10022
                            Attn.: Steven Serajeddini and Daniel Rudewicz

                            -and-

                            McGrath North Mullin & Kratz, PC LLO
                            First National Tower, Suite 3700
                            1601 Dodge Street
                            Omaha, Nebraska 68102
                            Attn.: James J. Niemeier

          After the Effective Date, the Reorganized Debtors shall have the authority to send a notice to parties in
interest providing that, to continue to receive documents pursuant to Bankruptcy Rule 2002, such party must File a
renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized
Debtors are authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those
Entities who have Filed such renewed requests.

G.       Entire Agreement

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.




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H.       Exhibits

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or for a fee via PACER at:
https://www.neb.uscourts.gov.

I.       Nonseverability of Plan Provisions

          If, before Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void,
or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to make it
valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or provision
held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions of the Plan
will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding, alteration,
or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that each term
and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is: (1) valid
and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the Debtors’
or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent.

J.       Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and, pursuant to section 1125(e) of the Bankruptcy Code,
the Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders, officers,
directors, managers, employees, advisors, and attorneys will be deemed to have participated in good faith and in
compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under
the Plan and any previous plan, and, therefore, neither any of such parties or individuals nor the Reorganized Debtors,
Reorganized Shopko, or Plan Administrator, as applicable, will have any liability for the violation of any applicable
law (including the Securities Act), rule, or regulation governing the solicitation of votes on the Plan or the offer,
issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous plan.

K.       Waiver or Estoppel

          Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument, including
the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority, Secured, or
not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if such
agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed before the Confirmation Date.




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      Respectfully submitted, as of the date first set forth above,

                                                    SPECIALTY RETAIL SHOPS HOLDING CORP. (on behalf
                                                    of itself and all other Debtors)

                                                    By:    /s/ Russell Steinhorst
                                                    Name: Russell Steinhorst
                                                    Title:   Chief Executive Officer




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